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     UKG INC.
11

12
                                      UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14

15   AEGIS SENIOR COMMUNITIES LLC,                           CASE NO.
16                              Plaintiff,                   DECLARATION OF REBEKAH R.
                                                             SHAPIRO IN SUPPORT OF DEFENDANT
17             vs.                                           UKG INC.’S NOTICE OF REMOVAL
18   UKG, INC., and DOES 1 through 20                        Action Filed:    1/25/2023
     inclusive,
19
                                Defendants.
20

21   I, Rebekah R. Shapiro, declare and state as follows:
22             1.    I am an attorney licensed to practice before all of the courts of the State of California,
23   an associate attorney with the law firm of Cozen O’Connor, and counsel of record for Defendant
24   UKG Inc. (“UKG”), in the above-entitled action. This declaration is based upon my personal
25   knowledge, except as to those matters stated on information and belief and, as to those matters, I
26   believe them to be true. If called upon as a witness, I could and would competently testify as to the
27   facts set forth therein.
28   ///

                                                         1
                DECLARATION OF REBEKAH R. SHAPIRO IN SUPPORT OF UKG INC.’S NOTICE OF REMOVAL
       Case 3:23-cv-01076-AMO Document 1-1 Filed 03/09/23 Page 2 of 80



 1          2.      Plaintiff Aegis Senior Communities LLC filed this civil action against UKG in the
 2   Superior Court of California, County of Alameda, on January 25, 2023.

 3          3.      Attached as Exhibit A is a true and correct copy Plaintiff’s Summons and Complaint,

 4   filed in the Alameda County Superior Court.

 5          4.      Plaintiff’s Complaint was served on and received by UKG on February 7, 2023.

 6          5.      UKG files this Notice of Removal on March 9, 2023, or “within 30 days after receipt

 7   by the defendant, through service or otherwise, of a copy of the initial pleading.” See 28 U.S.C.

 8   §1446(b)(1).

 9          6.      UKG is a Delaware corporation with dual corporate headquarters in Weston, Florida

10   and Lowell, Massachusetts. See Ex. A ¶ 13.

11          I declare under penalty of perjury that the foregoing is true and correct. Executed on this

12   9th day of March, 2023 in Redwood City, California.

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14                                                        _
                                                          Rebekah R. Shapiro
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                                                      2
             DECLARATION OF REBEKAH R. SHAPIRO IN SUPPORT OF UKG INC.’S NOTICE OF REMOVAL
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            EXHIBIT A
                          Case 3:23-cv-01076-AMO Document 1-1 Filed 03/09/23 Page 4 of 80                                                            SUM-100
                                           SUMMONS                                                                        FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
UKG, INC.; and DOES 1 through 20, Inclusive


YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
AEGIS SENIOR COMMUNITIES LLC


 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
 the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
 continuación.
    Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
 corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
 que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
 podrá quitar su sueldo, dinero y bienes sin más advertencia.
    Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
 programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
 colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                         (Número del Caso):
(El nombre y dirección de la corte es):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
Hayward Hall of Justice
24405 Amador Street
Hayward, CA 94544
Tel. 510-690-2700
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Shareef Farag (251650); Alex Spjute (SBN 229796); Ava Claypool (327059) Tel: (310) 820-8800 Fax: (310) 820-8859
BAKER & HOSTETLER LLP
11601 Wilshire Boulevard, Suite 1400, Los Angeles, CA 90025-0509
DATE:                                                                        Clerk, by                                                                , Deputy
(Fecha)                                                                      (Secretario)                                                             (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
[SEAL]                                NOTICE TO THE PERSON SERVED: You are served
                                      1.     as an individual defendant.
                                      2.     as the person sued under the fictitious name of (specify):

                                      3.        on behalf of (specify):
                                           under:       CCP 416.10 (corporation)                                   CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                           CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.         by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                                      SUMMONS                                                  Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courtinfo.ca.gov
   SUM-100 [Rev. July 1, 2009]
                                Case 3:23-cv-01076-AMO Document 1-1 Filed 03/09/23 Page 5 of 80



                           1   Shareef Farag (251650)
                               Alex Spjute (SBN 229796)
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                               Telephone: 310.820.8800
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                               Email:         sfarag@bakerlaw.com
                           6                  aspjute@bakerlaw.com
                                              aclaypool@bakerlaw.com
                           7
                               Attorneys for Plaintiff
                           8   AEGIS SENIOR COMMUNITIES LLC

                           9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                          10                                      COUNTY OF ALAMEDA

                          11   AEGIS SENIOR COMMUNITIES LLC,                        Case No.:
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                          12                     Plaintiff,
   A TTORNEYS AT L A W
      L OS A NGELES




                          13           v.                                           COMPLAINT FOR

                          14                                                        1. Negligence
                                                                                    2. Gross Negligence
                          15   UKG, INC.; and DOES 1 through 20,                    3. Violations of the California Unfair
                               inclusive,                                              Competition Law
                          16                                                        4. Equitable Indemnity
                                                 Defendants.                        5. Breach of Contract
                          17                                                        6. Breach of Covenant of Good Faith and
                                                                                       Fair Dealing
                          18

                          19          Plaintiff AEGIS SENIOR COMMUNITIES, LLC hereby complains and alleges as

                          20   follows:

                          21                                              INTRODUCTION

                          22          1.      Plaintiff, Aegis Senior Communities, LLC (“Aegis” or “Plaintiff”), brings this

                          23   action against United Kronos Group, Inc. (“UKG” or “Defendant”) for its failure to implement

                          24   and maintain reasonable security procedures and practices, including with respect to the sensitive

                          25   and confidential personal information UKG obtains from its customers’ employees; the

                          26   consequent data breach of its systems that began in December of 2021; its failure to implement

                          27   and maintain reasonable backup or contingency procedures and practices to prevent or minimize

                          28


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                                                                                                                        COMPLAINT
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                           1   disruption of services; and the resultant shut down of payroll services for approximately five
                           2   weeks.
                           3            2.    UKG is one of the world’s biggest workforce management software companies.
                           4   The company collects, stores, and processes data for thousands of companies and millions of
                           5   workers.
                           6            3.    As a result of UKG’s grossly inadequate security measures, UKG was subject to a
                           7   ransomware attack on its timekeeping system, Kronos Private Cloud, on or around December 11,
                           8   2021.
                           9            4.    The data breach exposed millions of workers’ sensitive and confidential personal
                          10   identifying information (“PII”) to cybercriminals.
                          11            5.    Additionally, because of its extraordinary failure and refusal to create a safeguard
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                          12   or any backup plan for the event of a data breach, both UKG and its thousands of customers were
   A TTORNEYS AT L A W
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                          13   unable to access any of UKG’s timekeeping and payroll systems, resulting in extreme difficulties
                          14   for Plaintiff attempting to correctly calculate and pay its employees.
                          15            6.    Many of the affected organizations included hospitals and healthcare systems,
                          16   including Plaintiff, an Assisted Living and Memory Care Provider serving seniors in California,
                          17   Nevada, and Washington.
                          18            7.    Plaintiff provides a continuum of care to elder residents suffering from physical
                          19   and cognitive impairments. The care includes but is not limited to living arrangements, memory
                          20   care, laundry, cleaning and dining services, and health and wellness activities.
                          21            8.    Plaintiff employs thousands of employees with a variety of responsibilities to help
                          22   the elderly residents.
                          23            9.    As a result of UKG’s payroll services going offline, it became very difficult for
                          24   Plaintiff to correctly calculate and pay its employees, resulting in disruption of and harm to
                          25   Plaintiff’s business and other damages, as described below.
                          26            10.   On March 18, 2022, due to the failure of UKG’s services and the subsequent
                          27   difficulties by Plaintiff to compensate for that failure, Daniela Melgoza, an employee of Aegis,
                          28


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                                                                                                                          COMPLAINT
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                           1   filed a putative class action in the Superior Court of California against Plaintiff on behalf of
                           2   herself and other employees.
                           3          11.     On May 5, 2022, due to the failure of UKG’s services and the subsequent
                           4   difficulties faced by Aegis to compensate for that failure, Daniela Melgoza, filed a Labor Code
                           5   Private Attorneys General Act (“PAGA”) enforcement action on behalf of herself and other
                           6   employees against Plaintiff in the Northern District of California.
                           7                                                    PARTIES
                           8          12.     Plaintiff Aegis Senior Communities LLC, doing business as Aegis Living, is a
                           9   Washington limited liability company with its principal place of business located in Bellevue,
                          10   Washington. Plaintiff is registered to do business in the State of California and does business in
                          11   the State of California.
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                          13          13.     Defendant UKG, Inc. is a corporation formed under the laws of the State of

                          14   Delaware, with dual corporate headquarters in Weston, Florida and Lowell, Massachusetts. UKG

                          15   is the result of a merger between Ultimate Software and Kronos Incorporated. The merger was

                          16   complete as of April 1, 2020.

                          17                                        JURISDICTION AND VENUE

                          18          14.     UKG is registered to do business in California with the California Secretary of

                          19   State under entity number C2111426. UKG regularly contracts with a multitude of businesses and

                          20   organizations in California to provide continuous and ongoing human resource services, including

                          21   timekeeping and payroll services.

                          22          15.      This Court has specific personal jurisdiction over UKG because Plaintiff’s claims

                          23   arise from UKG’s specific contacts with the State of California – namely, UKG’s provision of

                          24   payroll and other human resource services to Plaintiff’s assisted living communities throughout

                          25   California, UKG’s failure to implement and maintain reasonable security procedures and

                          26   practices with respect to those services, and the consequent interruption of and failure to timely

                          27   restore or replace such services to Plaintiff’s assisted living communities throughout California.

                          28


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                           1          16.     Venue is proper in this judicial district because some of the parties reside Alameda
                           2   County, and a substantial part of the events giving rise to this action occurred in Alameda County.
                           3                                         FACTUAL ALLEGATIONS
                           4          17.     UKG is a multinational technology company that provides workforce and human
                           5   resources management services, including timekeeping and payroll services, to many large
                           6   businesses including Marriott International, MGM Resorts, PepsiCo, Tesla, Inc. and others.
                           7          18.     UKG was established in April 2020 as a result of a merger between Ultimate
                           8   Software and Kronos Incorporated. UKG is one of the largest HR technology companies in the
                           9   world, valued at $22 billion.
                          10          19.     Kronos Incorporated was an American multinational workforce management and
                          11   human capital management cloud provider which provided cloud applications for workforce
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                          12   management and human capital management, as well as consulting, education, and support
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                          13   services to its customers.
                          14          20.     UKG currently provides its timekeeping services to many companies and
                          15   organizations in California including PepsiCo, Tesla, GameStop, the University of California
                          16   system, the County of Santa Clara, and many private and public hospital and healthcare
                          17   organizations, including Aegis. UKG provides timekeeping and payroll services to thousands of
                          18   employers.
                          19          21.     UKG’s website indicates that its payroll services and solutions will eliminate
                          20   errors, ensure compliance, and create the “perfect paycheck every time.”
                          21          22.     UKG’s website indicates that its payroll services and solutions “drive accuracy,
                          22   improve efficiency, and ensure compliance by controlling and running payroll how you want, all
                          23   based on the unique needs of your organization.”
                          24          23.     In connection with its timekeeping and payroll services, UKG is also tasked with
                          25   collecting and storing sensitive personal data, including Personally Identifiable Information
                          26   (“PII”) for its large corporate customers and their millions of workers.
                          27          24.     UKG’s website indicates that it is committed to protecting the privacy of
                          28   individuals who use UKG’s services, including but not limited to UKG’s customers and their


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                                                                                                                          COMPLAINT
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                           1   employees. The privacy notice on UKG’s website also indicates that UKG uses physical,
                           2   technical, and administrative controls and procedures to safeguard PII.
                           3              25.     Specifically, UKG’s website indicates that “to protect the confidentiality, integrity,
                           4   availability and resilience of your PI[I], we utilize a variety of physical and logical access
                           5   controls, firewalls, intrusion detection/prevention systems, network and database monitoring,
                           6   anti-virus, and backup systems.” 1
                           7              26.     On July 25, 2019, Plaintiff entered into a contract with Kronos incorporated for
                           8   the provision of certain human resources management services, specifically, Workforce Central
                           9   Software, and Kronos Private Cloud services.
                          10              27.     On December 13, 2021, UKG sent a communication to impacted Kronos Private
                          11   Cloud customers, including Plaintiff, informing them that UKG experienced a cybersecurity
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                          12   incident that rendered the Kronos Private Cloud (KPC) services unavailable. According to the
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                          13   communication, UKG became aware of unusual activity on December 11, 2021, and determined
                          14   that the activity was a result of a ransomware attack.
                          15              28.     While UKG sent correspondence to its customers regarding the attack, the vague
                          16   correspondence failed to provide any remedy to access the critical payroll information, and as a
                          17   result, Plaintiff was unable to provide its employees with access to some of the payroll software
                          18   until five weeks later, on January 19, 2022.
                          19              29.     On January 22, 2022, UKG posted an update to its website stating that “[b]etween
                          20   January 4 and January 22, all affected customers in the Kronos Private Cloud were restored with
                          21   safe and secure access to their core time, scheduling, and HR/payroll capabilities. We are now
                          22   focused on the restoration of supplemental features and non-production environments and are
                          23   extraordinarily grateful for the patience and partnership our customers have shown.”
                          24              30.     UKG’s carefully worded announcement failed to clarify that UKG’s payroll
                          25   services were still not fully operational, falsely suggesting that its services had been restored to a
                          26   reliable state and suggesting Plaintiff and others could rely upon UKG for the payroll services it
                          27   had agreed to provide. In reality, and contrary to this announcement, UKG did not have in place
                          28
                               1
                                   https://www.ukg.com/privacy (July 14, 2022)

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                                                                                                                              COMPLAINT
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                           1   backup systems or contingency plans that would have in fact ensured that payroll services were
                           2   “restored.”
                           3             31.     UKG confirmed as much on February 11, 2022, when it announced that only the
                           4   first phase of the restoration process was complete and that many of KPC applications, such as
                           5   Citrix, Workforce Analytics, and non-production environments, were still offline.
                           6             32.    The February 11, 2022, announcement went on to state that UKG had discovered
                           7   and notified customers whose personal data of its employees “was exfiltrated.”
                           8             33.     UKG claimed the theft of personal data was contained to employees of only two
                           9   of its customers; however, in the same announcement, UKG admitted its forensic investigation
                          10   was still ongoing. 2
                          11             34.    The UKG outage affected approximately 8 million total employees, leaving
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                          12   employers to rely on handwritten timecards to process payroll until the system became available
   A TTORNEYS AT L A W
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                          13   and leaving employees concerned about the security of their PII.
                          14             35.    Many employers were forced to warn their employees that some private
                          15   information, including social security numbers, were potentially compromised and in the hands of
                          16   the attackers. Specifically, UKG notified Puma North America Inc., a shoe and apparel company,
                          17   that the attackers acquired social security numbers and other PII of approximately 6,632
                          18   employees. 3
                          19             36.    The Federal Bureau of Investigations (“FBI”) provides business continuity
                          20   considerations that data companies should implement in anticipation of an attack. Some
                          21   considerations include: backing up data regularly, verifying the integrity of those backups and
                          22   testing the restoration process to ensure it is working; and conducting an annual penetration test
                          23   and vulnerability assessment. On information and belief, UKG failed to adopt and implement the
                          24   FBI’s recommendations regarding preserving business continuity prior to the December 2021
                          25   attack.
                          26

                          27
                               2
                                 Hackers disrupt payroll for thousands of employers — including hospitals
                          28   https://www.npr.org/2022/01/15/1072846933/kronos-hack-lawsuits. (last visited June 6, 2022).
                               3
                                 https://www.securityweek.com/data-puma-employees-stolen-kronos-ransomware-attack

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                           1            37.       Prior to this attack, and as a result of the meteoric rise in ransomware attacks, the
                           2   FBI created a Ransomware Prevention and Response Guide which compiles federal government
                           3   and private industry best practices and mitigation strategies to prevent and respond to ransomware
                           4   incidents. Some of the best practices include: Configuring firewalls to block access to known
                           5   malicious IP addresses; patching operating systems, software, and firmware on devices; and
                           6   setting anti-virus and anti-malware programs to conduct regular scans automatically. On
                           7   information and belief, UKG failed to adopt and implement such practices and strategies prior to
                           8   the December 2021 attack.
                           9            38.       The National Institute of Standards and Technology (“NIST”) is part of the U.S.
                          10   Department of Commerce. NIST guidelines and controls, including NIST 800-53, are generally
                          11   used to enhance the cybersecurity framework, risk posture, information protection, and security
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                          12   standards of organizations. NIST 800-53 is mandatory for federal agencies, and commercial
   A TTORNEYS AT L A W
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                          13   entities may also utilize its guidelines and controls in their security programs.
                          14            39.       NIST guidelines and controls are also used to assess vendors and contractors prior
                          15   to contracting with the federal government.
                          16            40.       NIST recognizes the importance of having a contingency plan, and the controls for
                          17   cybersecurity include a large section concerning appropriate contingency planning. 4 On
                          18   information and belief, UKG failed to implement and adopt NIST’s guidance regarding
                          19   appropriate contingency planning.
                          20                  •   NIST also released a list of basic guidelines for organizations to follow to prevent
                          21                      and respond to ransomware attacks. 5 On information and belief, UKG failed to
                          22                      adopt and implement such guidelines.
                          23            41.       UKG could have prevented the ransomware attack by implementing preventative
                          24   measures as advised by the federal government and the National Institute of Standards and
                          25   Technology.
                          26
                               4
                                 Security and Privacy Controls for Information Systems and Organizations
                          27   https://csrc.nist.gov/CSRC/media/Projects/risk-management/800-53%20Downloads/800-53r5/SP_800-53_v5_1-
                               derived-OSCAL.pdf
                          28   5
                                 Ransomware Risk Management: A Cybersecurity Framework Profile
                               https://nvlpubs.nist.gov/nistpubs/ir/2022/NIST.IR.8374.pdf

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                           1            42.      UKG could and should have mitigated the damage of the attack and allowed
                           2   employers access to timekeeping and payroll services by creating a continuity and recovery plan
                           3   as advised by the federal government and the National Institute of Standards and Technology.
                           4            43.      Upon information and belief, UKG did not create a continuity and recovery plan as
                           5   advised by the federal government and the National Institute of Standards and Technology.
                           6            44.      Upon information and belief, UKG did not create or maintain any continuity or
                           7   recovery plan to anticipate a foreseeable data breach.
                           8            45.      UKG was on notice of the rise in ransomware attacks and was on notice that it was
                           9   a target for ransomware attackers.
                          10            46.      In April and May 2021, the Colonial Pipeline Company was forced to shut down
                          11   its pipeline system in response to a ransomware attack. Colonial Pipeline gave into demands and
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                          12   paid the attackers $4.4 million. As a result of the attack, government officials urged owners of
   A TTORNEYS AT L A W
      L OS A NGELES




                          13   critical infrastructure companies, like UKG, to follow best practices to prevent against
                          14   ransomware attacks and to adopt a heightened state of awareness for the risks of ransomware. 6 7
                          15            47.      UKG’s knowledge and notice of a potential ransomware attack is highlighted by
                          16   the string of attacks against payroll companies in particular.
                          17            48.      In November 2021, Frontier Software, a payroll and talent management software,
                          18   was the victim of a ransomware attack. The attack compromised the data of approximately 38,000
                          19   to 80,000 South Australian government employees, including dates of birth, start dates, and other
                          20   payroll data. 8
                          21            49.      In January 2021, the third-party payroll provider for Arup, a UK-based
                          22   engineering firm that employees 6,000 employees, was a victim of a ransomware attack. Arup
                          23

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                          26   6
                                 DarkSide Ransomware: Best Practices for Preventing Business Disruption from Ransomware Attacks.
                               https://www.cisa.gov/uscert/ncas/alerts/aa21-131a
                          27   7
                                 Joint CISA-FBI Cybersecurity Advisory on DarkSide Ransomware. https://www.cisa.gov/uscert/ncas/current-
                               activity/2021/05/11/joint-cisa-fbi-cybersecurity-advisory-darkside-ransomware.
                          28   8
                                 Frontier Software data breach. https://www.sa.gov.au/topics/emergencies-and-safety/types/cyber-security/frontier-
                               software-data-breach

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                           1   was only informed in March of 2021. In April 2021, the full details of the attack were published.
                           2   Data stolen included employee names, bank details, and home addresses. 9
                           3            50.      In May 2020, Interserve, a contractor for Britain’s Ministry of Defense, was
                           4   hacked. The hackers managed to gain access to up to 100,000 past and current employee details,
                           5   including names, addresses, bank details, HR records, payroll, and pension information. 10
                           6            51.      In February 2021, about 4,500 customers of a Honolulu payroll processing
                           7   company, Hawaii Payroll Services, LLC, were potentially affected by a ransomware attack that
                           8   exposed Social Security numbers, dates of birth, the full names of clients and bank account
                           9   information. 11
                          10            52.      Despite having ample notice of the prevalence of data breaches, and specifically
                          11   data breaches against payroll services, UKG failed to prioritize data security by failing to adopt
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                          12   reasonable and government-suggested data security measures to prevent and detect unauthorized
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                          13   access to its sensitive and critical infrastructure systems and databases. Despite knowing that its
                          14   software provided critical payroll and timesheet services for millions of employees, UKG failed
                          15   to adopt and implement reasonable and well-known restoration and business continuity measures.
                          16   UKG is a multinational company with the resources to prevent and properly react to a breach, but
                          17   refused to adequately invest in data security, even at a time where data breaches were on the rise.
                          18   UKG failed to undertake adequate analyses and testing of its systems, training of its personnel,
                          19   and other data security measures to ensure vulnerabilities were avoided or remedied. UKG also
                          20   deliberately chose not to implement basic backup measures or create or implement any
                          21   contingency plan to ensure continuity of payroll services so that Plaintiff could accurately and
                          22   efficiently pay its employees.
                          23                                             PLAINTIFF’S ALLEGATIONS
                          24            53.      Plaintiff became a customer of UKG’s Kronos Workforce Central Software after
                          25   signing a statement of work contract on July 25, 2019. (Ex. A.) Plaintiff purchased UKG’s
                          26
                               9
                                 Global consultancy firm Arup victim of data breach. https://celsolicitors.co.uk/global-consultancy-firm-arup-victim-
                          27   of-data-hackers/
                               10
                                  Interserve data breach. https://www.dataleaklawyers.co.uk/blog/interserve-data-breach
                          28   11
                                  Thousands Affected by Ransomware Attack on Hawaii Company. https://www.govtech.com/security/thousands-
                               affected-by-ransomware-attack-on-hawaii-company

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                           1   Kronos Workforce Central Software to provide timekeeping and payroll services for its
                           2   employees, and agreed on monthly service fees of $8,725. Among other services, UKG was to
                           3   provide the following applications:
                           4                    •   Workforce Timekeeper
                           5                    •   Workforce Manager
                           6                    •   Workforce Accruals
                           7                    •   Workforce Scheduler
                           8                    •   Workforce AR
                           9                    •   Workforce Payroll
                          10                    •   KSS Tool, Timecard Confirmation Tool
                          11                    •   Workforce Employee
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                          12                    •   Workforce Administrator HR/PR
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                          13              54.       According to the UKG Website, Kronos Workforce would “manage schedules,
                          14   track time and attendance, administer absence and leave, and measure productivity.” 12
                          15              55.       Plaintiff purchased Kronos Workforce to manage schedules, track time and
                          16   attendance, administer absence and leave (which is particularly complex and important in the
                          17   healthcare industry), and measure productivity.
                          18              56.       According to the UKG Website, Kronos Timekeeper is guaranteed to “track,
                          19   manage, and control employee time and attendance for uncompromised results.” 13 UKG also
                          20   promises that Kronos Timekeeper will “centrally enforce labor laws, union rules, and
                          21   organization-specific policies.”
                          22              57.       Plaintiff purchased Kronos Timekeeper from UKG to track, manage, and control
                          23   employee time and attendance, and expected uncompromised results, as advertised and promised
                          24   by UKG
                          25

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                                    https://www.kronos.co.uk/products/workforce-central-suite
                               13
                                    https://www.kronos.com/resource/download/8066

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                           1             58.   Plaintiff purchased Kronos Timekeeper from UKG to centrally enforce labor laws,
                           2   union rules, and organization-specific policies, which are of utmost important in the healthcare
                           3   industry.
                           4             59.   UKG’s Terms and Conditions in the contract provide that the Applications, under
                           5   normal operation as specified in the Documentation and when used as authorized, will perform
                           6   substantially in accordance with such Documentation.
                           7             60.   UKG’s Terms and Conditions in the contract provide that UKG shall provide
                           8   administrative, physical, and technical safeguards for protection of the security, confidentiality,
                           9   and integrity of customer data.
                          10             61.   Plaintiff fundamentally relied on UKG’s representations that the software would
                          11   perform as described.
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                          12             62.   Plaintiff fundamentally relied on UKG’s representations UKG’s software would
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                          13   drive accuracy, improve efficiency, ensure compliance, and create the “perfect paycheck every
                          14   time.”
                          15             63.   Plaintiff fundamentally relied on UKG’s representations that it would provide
                          16   administrative, physical, and technical safeguards for protection of the security, confidentiality,
                          17   and integrity of customer data.
                          18             64.   On December 13, 2021, UKG sent a communication to impacted KPC customers,
                          19   including Plaintiff, informing them that UKG experienced a cybersecurity incident that rendered
                          20   the KPC services unavailable. According to the communication, UKG became aware of unusual
                          21   activity on December 11, 2021, and determined that the activity was a result of a ransomware
                          22   attack.
                          23             65.   While UKG sent correspondence to its customers regarding the attack, the vague
                          24   correspondence failed to provide any remedy to access the critical payroll information.
                          25             66.   As a direct and foreseeable result of UKG’s grossly negligent failure to implement
                          26   and maintain critical data security procedures or continuity plans, Plaintiff’s timekeeping and
                          27   payroll systems were instantly unavailable as of approximately December 11, 2021 and remained
                          28   inaccessible for use to Aegis employees until January 19, 2022, approximately five weeks


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                           1   following the initial breach. UKG lacked any back up or business continuity protocols, so all
                           2   customers, including Plaintiff, were deprived of the software and services for which they had
                           3   contracted and paid.
                           4           67.     Plaintiff was unable to access the UKG services and software it was promised for
                           5   the period between approximately December 11, 2021 and January 19, 2022.
                           6           68.     Plaintiff attempted to have its employees accurately record their hours manually so
                           7   that they could be paid accurately and efficiently while UKG’s promised services were failing.
                           8           69.     Plaintiff operates in a fast-paced healthcare environment where the number one
                           9   priority is resident care.
                          10           70.     Plaintiff’s employees work complex shifts and require different regulatory breaks
                          11   across different states.
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                          12           71.     Prior to UKG’s data breach, Plaintiff paid its employees consistently and
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                          13   accurately, and provided breaks in accordance with state and federal laws.
                          14           72.     Plaintiff relied on UKG’s expertise to calculate nursing, care and other staff
                          15   breaks, shift differentials, and other complex payroll solutions that Plaintiff paid for and UKG
                          16   advertised. Plaintiff does not have the infrastructure to accurately record the hours of its
                          17   employees without UKG’s systems.
                          18           73.     Plaintiff maintained a leanly staffed payroll department because it fundamentally
                          19   relied on UKG’s representations that it would provide consistent and accurate payroll services.
                          20           74.     Despite Plaintiff’s best efforts, Plaintiff could not accurately keep and manage
                          21   time worked for employees, and some employees received inaccurate pay.
                          22           75.     On March 18, 2022, Daniela Melgoza, an employee of Aegis, filed a putative class
                          23   action against Plaintiff on behalf of herself and other employees, due to the payment and break
                          24   inaccuracies caused by the data breach which rendered UKG’s payroll services unavailable to
                          25   Plaintiff. (Ex. B)
                          26           76.     On May 5, 2022, Daniela Melgoza, an employee of Aegis, filed a Labor Code
                          27   Private Attorneys General Act (“PAGA”) enforcement action against Plaintiff on behalf of herself
                          28


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                           1   and other employees, due to the payment and break inaccuracies caused by the data breach which
                           2   rendered UKG’s payroll services unavailable to Plaintiff.
                           3           77.       As a direct result of UKG’s breaches and failures, Plaintiff has incurred damages
                           4   and additional costs including but not limited to:
                           5                 •   Outside contractors and consultants to assist in processing manual payroll
                           6                 •   Overtime hours paid to employees tasked with manually recording working hours
                           7                     and breaks
                           8                 •   Defending labor claims caused by inaccurate or untimely payments
                           9                 •   Outside consultant to assist with getting the payroll system back online
                          10                 •   Outside consultant to assist with exporting time information from timeclocks
                          11                     during the period of the outage
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                          12                 •   Overpayments to employees as a result of not being able to accurately capture their
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                          13                     time
                          14                 •   Shipping costs for shipping paper checks to employees via FedEx
                          15                 •   Costs associated with issuing amended W-2 forms
                          16

                          17                                           CLAIMS FOR RELIEF
                          18                                                   COUNT I
                          19                                               NEGLIGENCE
                          20           78.       Plaintiff re-alleges and incorporates by reference all preceding allegations as if
                          21   fully set forth herein.
                          22           79.       UKG owes Plaintiff and its employees a duty to exercise reasonable care in
                          23   protecting the PII of Plaintiff’s employees. This duty includes implementing and maintaining
                          24   reasonable security procedures and practices appropriate to the nature of the PII that are
                          25   compliant with and/or better than industry-standard practices. UKG’s duties included a duty to
                          26   design, maintain, and test its security systems to ensure that customer PII was adequately secured
                          27   and protected, to implement processes that would detect a breach of its security system in a timely
                          28   manner, to timely act upon warnings and alerts, including those generated by its own security


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                           1   systems regarding intrusions to its networks, and to have a continuity plan in place to ensure that
                           2   it can continue to provide its critical payroll services.
                           3           80.     UKG breached its duty to Plaintiff by failing to design, maintain, and test its
                           4   security systems to ensure that customer PII was adequately secured and protected.
                           5           81.     It was foreseeable that a failure to implement adequate, industry-standard security
                           6   measures would result in a data breach, causing injury to customers and their employees.
                           7           82.     Such failure did result in a data breach, which exposed PII and caused injury to
                           8   Plaintiff and its employees.
                           9                                                 COUNT II
                          10                                         GROSS NEGLIGENCE
                          11           83.     Plaintiff re-alleges and incorporates by reference all preceding allegations as if
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                          12   fully set forth herein.
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                          13           84.     Given the highly sensitive nature of the PII UKG collects from its customers’
                          14   employees and the likelihood of harm resulting from its unauthorized access, acquisition, use, or
                          15   disclosure, UKG owes Plaintiff and its employees a duty to exercise reasonable care in protecting
                          16   such information. This duty includes implementing and maintaining reasonable security
                          17   procedures and practices appropriate to the nature of the PII that are compliant with and/or better
                          18   than industry-standard practices. UKG’s duties included a duty to design, maintain, and test its
                          19   security systems to ensure that customer PII was adequately secured and protected, to implement
                          20   processes that would detect a breach of its security system in a timely manner, to timely act upon
                          21   warnings and alerts, including those generated by its own security systems regarding intrusions to
                          22   its networks, and to have a continuity plan in place to ensure that it can continue to provide its
                          23   critical payroll services.
                          24           85.     Given UKG’s size and market share of payroll services, including processing data
                          25   for millions of employees, and managing the processing of hundreds of millions of dollars, UKG
                          26   owes a duty to customers to use reasonable measures to create a continuity plan in the event of a
                          27   highly foreseeable data breach. This duty includes implementing and maintaining reasonable
                          28   security procedures and practices appropriate to the nature of the PII that are compliant with


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                           1   and/or better than industry-standard practices. UKG’s duties include a duty to design, maintain,
                           2   and test its security systems to ensure that customer PII is adequately secured and protected, to
                           3   implement processes that would detect a breach of its security system in a timely manner, to
                           4   timely act upon warnings and alerts, including those generated by its own security systems
                           5   regarding intrusions to its networks, and to have a continuity plan in place to ensure that it can
                           6   continue to provide its critical payroll services.
                           7          86.     It was foreseeable to UKG that a failure to follow federal guidelines to protect
                           8   against data breaches would result in injury to its customers and their employees, including by
                           9   exposing its customers to legal liability arising from, among other things, employee and wage-
                          10   related litigation. In fact, multiple UGK customers, including Aegis, have been sued by their
                          11   employees as a result of UGK’s failure to follow such guidelines.
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                          12          87.     Actual and attempted breaches of data security were reasonably foreseeable to
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                          13   UKG given that other payroll companies had suffered such attacks as well as the known
                          14   frequency of data breaches and various warnings from industry experts.
                          15          88.     In connection with the conduct described above, UKG acted willfully, wantonly,
                          16   and without even scant care in neglecting to adequately protect its software from a data breach.
                          17          89.     In connection with the conduct described above, UKG acted willfully, wantonly,
                          18   and without even scant care in neglecting to create a continuity plan in the event of a highly
                          19   foreseeable data breach.
                          20          90.     UKG owed a duty to Plaintiff to exercise reasonable care to avoid sudden
                          21   disruption to its human resources services, including its timekeeping and payroll services. UKG
                          22   was responsible for providing continuous and ongoing timekeeping and payroll services to
                          23   Plaintiff, knowing that such services were for the benefit of making timely wage payments to
                          24   employees, among other things, and that any disruption, particularly any sudden disruption,
                          25   would cause Plaintiff and its employees harm.
                          26          91.     UKG’s duty also arose from its unique position as one of the largest cloud
                          27   computing companies in the world whose services constitute a linchpin of the payroll services of
                          28   a substantial fraction of the nation. Because of its crucial role within the payroll system, UKG


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                           1   was in a unique and superior position to protect against the harm suffered by Plaintiff and its
                           2   employees as a result of the UKG data breach.
                           3           92.      But for UKG’s wrongful and grossly negligent breach of its duties owed to
                           4   Plaintiff and its employees, Plaintiff’s timekeeping and payroll services would not have been
                           5   disabled and Plaintiff would have been able to accurately compensate its employees, avoiding
                           6   injury, including from the class action suit filed against Plaintiff.
                           7           93.      As a direct and proximate result of UKG’s gross negligence, Plaintiff and its
                           8   employees have been injured as described herein, and are entitled to damages, including
                           9   compensatory, punitive, and nominal damages, in an amount to be proven at trial.
                          10

                          11                                                 COUNT III
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                          12     VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW, CAL. BUS. &
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                          13                                       PROF. CODE § 17200, et seq.
                          14           94.      Plaintiff re-alleges and incorporates by reference all preceding allegations as if
                          15   fully set forth herein.
                          16           95.      Defendant violated California’s Unfair Competition Law (“UCL”) Cal. Bus. &
                          17   Prof. Code § 17200, et seq., by engaging in unlawful, unfair, or fraudulent business acts and
                          18   practices, and unfair, deceptive, untrue, or misleading advertising that constitute acts of unfair
                          19   competition as defined in the UCL, including, but not limited to, the following:
                          20           a. by representing and advertising that it would maintain adequate data privacy and
                          21                 security practices using physical, technical, and administrative controls and
                          22                 procedures;
                          23           b. by representing and advertising that it would track, manage, and control employee
                          24                 time and attendance for uncompromised results and that it would centrally enforce
                          25                 labor laws, union rules, and organization-specific policies.
                          26           c. by representing and advertising that its services would eliminate errors, ensure
                          27                 compliance, and create the “perfect paycheck every time.”
                          28


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                           1           96.     These unfair acts and practices were immoral, unethical, oppressive,
                           2   unconscionable, and substantially injurious to Plaintiff.
                           3           97.     As a result of UKG’s unfair and unlawful practices, Plaintiff was, and continues to
                           4   be injured and lost money or property, including but not limited to the fees paid to defend itself
                           5   from the class action caused by UKG’s unfair business practices.
                           6           98.     UKG knew or should have known that its computer systems and data security
                           7   systems were inadequate and that the risk of a data breach or theft was highly likely. UKG’s
                           8   actions in engaging in the above-named unfair practices and deceptive acts were negligent,
                           9   knowing, and willful, and/or wanton and reckless.
                          10           99.     Plaintiff seeks relief under the UCL, including restitution to the Class of money or
                          11   property that UKG may have acquired by means of Defendant’s deceptive, unlawful, and unfair
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                          12   business practices, declaratory relief, attorney fees, costs and expenses.
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                          14                                                   COUNT IV
                          15                                          EQUITABLE INDEMNITY
                          16           100.    Plaintiff re-alleges and incorporates by reference all preceding allegations as if
                          17   fully set forth herein.
                          18           101.    As a result of UKG’s grossly negligent and unfair acts described above, Plaintiff
                          19   has been required to defend against a class action filed by Plaintiff’s employees. To the extent
                          20   Plaintiff is found liable for the conduct alleged in the employees’ putative class action complaint,
                          21   UKG’s conduct caused or substantially contributed to the damages as alleged by the employees’
                          22   complaint.
                          23           102.    As such, should Plaintiff’s employees recover any amount of damages against
                          24   Plaintiff by way of judgment, settlement, or otherwise, Plaintiff is entitled to an equitable
                          25   apportionment of liability, and any judgment must be apportioned to UKG for its role in causing
                          26   the damages.
                          27   ///
                          28   ///


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                           1                                                    COUNT V
                           2                                          BREACH OF CONTRACT
                           3           103.    Plaintiff re-alleges and incorporates by reference all preceding allegations as if
                           4   fully set forth herein.
                           5           104.    The parties, for valuable consideration, entered into a valid and enforceable
                           6   contract on July 25, 2019 for the performance of software and services by UKG, formerly
                           7   Kronos, Incorporated, in return for money payments by Aegis.
                           8           105.    The contract provided that UKG would provide Workforce Central Software as a
                           9   Service (SaaS) to Aegis. Workforce Central Software provided services including, but not limited
                          10   to, Workforce Timekeeper, Workforce HR, Workforce Payroll, and Workforce Timecard
                          11   Confirmation Tool.
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                          12           106.    Section 12 of the contract provided that UKG would provide administrative,
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                          13   physical, and technical safeguards for the protection of the security, confidentiality, and integrity
                          14   of customer data.
                          15           107.    UKG breached the contract by failing to provide the Workforce Central Software
                          16   as a service (SaaS) to Aegis for a period of approximately 5 weeks. During that time, Aegis was
                          17   unable to access services critical to its day to day business operations. UKG breached the contract
                          18   by failing to provide adequate safeguards to protect customer data, and allowing a data breach.
                          19           108.    UKG willfully and knowingly engaged in unfair and deceptive conduct by failing
                          20   to provide adequate safeguards to protect customer data, and by failing to provide the services as
                          21   promised in the contract.
                          22           109.    Such unfair and deceptive conduct caused substantial injury to Plaintiff, as a
                          23   consumer, and to its employees.
                          24           110.    As a result of UKG’s breach of contract, Aegis has been injured as described
                          25   herein, and is entitled to damages, including compensatory, punitive, and nominal damages, in an
                          26   amount to be proven at trial.
                          27   ///
                          28   ///


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                           1                                                      COUNT VI
                           2                      BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
                           3
                                       111.       Plaintiff re-alleges and incorporates by reference all preceding allegations as if
                           4

                           5   fully set forth herein.

                           6           112.       At all times relevant to this litigation, UKG was in a contractual relationship with

                           7   Plaintiff.
                           8
                                       113.       This contract was subject to an implied Covenant of Good Faith and Fair Dealing
                           9
                               that all parties would act in good faith and with reasonable efforts to perform their contractual
                          10
                               duties. This included the covenant that UKG would act fairly and in good faith in carrying out its
                          11
                               contractual obligations to provide Plaintiff with the timekeeping and payroll services for which it
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                          13   contracted and adequately protect the PII of its employees.

                          14           114.       Defendant breached the Covenant of Good Faith and Fair Dealing by refusing to
                          15   implement the agreement as intended, including failing to provide Plaintiff with its payroll and
                          16
                               timekeeping services, and failing to adequately protect the PII of Plaintiff’s employees.
                          17

                          18           115.       As a result of UKG’s breach of the Covenant of Good Faith and Fair Dealing,

                          19   Aegis has been injured as described herein, and is entitled to damages, including compensatory,

                          20   punitive, and nominal damages, in an amount to be proven at trial

                          21                                               PRAYER FOR RELIEF

                          22           WHEREFORE, Plaintiff respectfully requests the Court grant Plaintiff the following relief

                          23   against Defendant:

                          24           a. An award to Plaintiff of compensatory, consequential, nominal, statutory, and treble

                          25                damages as set forth above;

                          26           b. An award of attorneys’ fees, costs, and expenses, as provided by law or equity;

                          27           c. An award of pre-judgment and post-judgment interest, as provided by law or equity;

                          28                and


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                           1        d. Such other relief as the Court may allow.
                           2

                           3   Dated:   January 25, 2023                       Respectfully submitted,
                           4
                                                                               BAKER & HOSTETLER LLP
                           5

                           6                                                   By:   /s/ Shareef Farag
                                                                                     Shareef Farag
                           7
                                                                               Attorneys for Plaintiff
                           8                                                   AEGIS SENIOR COMMUNITIES LLC
                           9

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 t~ KRON05


                                                                                                                 ORDER FORM
 Quote#: Q-27903                                                                                                 Order Type: Quote
 Expires: 7/26/2019                                                                                              Date: 7/25/2019
 Sales Executive: Jennifer Ellis


 Bill To Contact:                                                                    Ship To Contact:Amy Nelson

Bill To: AEGIS SENIOR COMMUNITIES, LLC                                               Ship To: AEGIS SENIOR COMMUNITIES, LLC
17602 NE UNION HILL RD                                                               17602 NE UNION HILL RD
REDMOND, WA 98052 USA                                                                REDMOND, WA 98052 USA

                                                                                     Ship to Phone:425-895-7614
                                                                                     Contact:AMY NELSON
                                                                                     Email:cloudservices-licensing@kronos.com




Currency: USD                                                                        FOB: Shipping Point
Customer PO Number:                                                                  Ship Method:
Solution ID: 6072632                                                                 Freight Term: Prepay & Add
Initial Term:24 months                                                               Renewal Term:12 months
Billing Start Date: 120 Days from Execution of                                       Payment Term: Net 30 Days
Order Form
Data Center Location: USA


Order Notes:
This order is made as part of a Kronos promotion. All pricing is discounted solely in connection with such promotion and will not be
applied to future orders. In consideration of the foregoing and discounted pricing and other good and valuable considerations, the
receipt and sufficiency of which is hereby acknowledged, Kronos shall provide Workforce Central Software as a Service (SaaS)
applications to Customer, in exchange for Customer's existing perpetual licenses for same, as indicated on this Order Form.
Customer's existing Software License Agreement, including Software Support services, and Cloud Hosting services, as applicable,
shall continue to apply to the perpetual licenses for a period of ninety (90) days from execution of this Order Form, and shall terminate
thereafter. Customer agrees and understands that they are giving up their right to use the existing Workforce Central perpetual software
licenses upon termination of the existing Software License Agreement. Notwithstanding the foregoing, Customer may continue to
access the Software for historical viewing purposes only. The Workforce Central Software as a Service Terms and Conditions, as
agreed upon by Customer and Kronos, shall apply to the Workforce Central Applications set forth on this Order Form . Workforce
Central Saas Monthly Service Fees shall be invoiced at the Bill ing Frequency indicated on this Order Form, commencing on the Billing
Start Date . As of the Billing Start Date, Kronos will credit any pre-paid but unused fees for Software Support and/or Cloud Hosting
Services on the perpetual licenses, as applicable. Credits may be applied against any amounts owed to Kronos by Customer until such
credit is expended . Customer shall pay for Software Support and Cloud Hosting services fees , as applicable , on the perpetual licenses
until the Workforce Central Saas Billing Start Date . Professional Services concessions valid only for the Workforce Central licenses
included on this Order Form .




For a period of 2 years from the date of this Order Form, Customer may purchase additional employee capacity for the Applications
set forth herein at the following prices: The costs of any individual Application( s) included in the Timekeeper Bundle (i .e. , Workforce
Manager) will be set forth on a mutually agreed upon Order Form based on Kronos' then current list price. The costs of any individual




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                                                                                                                        Quote#: Q-27903
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Application(s) included in the HR Bundle (i.e., HR/Payroll Man ager) will be set forth on a mutually agreed upon Order Form based on
Kronos' then current list price .
  Applications                              PEPM
  \./orkforce Timekeeper                           $3.40
   \./orkforce Manager                          Included
   \./orkforce Employee                         Included
   Workforce Integration Manager                Included
   Workforce Mobile Employee                    Included
   \./orkforce Mobile Manager                   Included
 \./orkforce Scheduler                            $1.00
 \./orkforce Accruals                             $0.40
 \./orkforce Human Resources                      $2.80
 'workforce HR/Payroll Employee                Included
 'workforce HR/Payroll Manager                 Included
 'workforce HRIPayroll Administrator           Included
 'workforce Payroll                               $2.80
 KSS Tool Attestation Tool Kit                    $0.20
 KSS Tool FT-PT Analysis Report                 $250.00
 KSS Timecard Confirmation                      $200.00



Future Capacity and Capacity Added above Converted license counts will be added via the Timekeeper bundle, which in cl udes :
Workforce Timekeeper; Workforce Manager 1:10 Ratio; Workforce Employee; Workforce Integration Manager; Workforce Mobile
Employee; Workforce Mobile Manager. The costs of any individual Application(s) included in the Timekeeper Bundle (i.e ., Workforce
Manager) will be set forth on a mutually agreed upon Order Form based on Kronos' then current list price .
Future Capacity and Capacity Added above Converted license counts will be added via the Workforce HR Bundle whi ch includes:
Workforce HR; Workforce HR/Payroll Administrator 1:100 Ratio; Workforce HR/PR Manager 1:10 Ratio; Workforce HR/PR Employee.
The costs of any individual Application(s) included in the HR Bundle (i.e ., Workforce HR/PR Manager) will be set forth on a mutually
agreed upon Order Form based on Kronos' then current list price .

PERPETUAL TO SAAS CONVERSION TABLE
Billing Frequency: Monthly in Arrears


Perpetual License to Saas Conversion Monthly
Service Fee


Converted Applications                                                                                                License Count

WORKFORCE TIMEKEEPER V8 SAAS                                                                                                   2,500

WORKFORCE MANAGER V8 SAAS                                                                                                         165

WORKFORCE ACCRUALS V8 SAAS                                                                                                     2,500

WORKFORCE SCHEDULER V8 SAAS                                                                                                      600

WORKFORCE HR V8 SAAS                                                                                                           2,500

WORKFORCE PAYROLL V8 SAAS                                                                                                      2,500

KSS TOOL.ATTESTATION TOOL KIT V8 SAAS                                                                                          2,500

KSS TOOL.FT-PT ANALYSIS REPORT V8 SAAS                                                                                                 1

KSS TOOL,TIMECARD CONFIRMATION TOOL V8 SAAS                                                                                            1

WORKFORCE EMPLOYEE V8 SAAS                                                                                                       650

WORKFORCE INTEGRATION MANAGER VB SAAS                                                                                          2,500




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                                                                                                                                         Quote#: Q-27903
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    Education Services
    Billing Frequency: Invoiced Upon signature of the Order form

                  -- -     - --                                                                                               -------
    Item                                                                                                     Quantity         Total Price
    KNOWLEDGE PASS                                                                                                    2,500   USD 4,625.00

    Total Price                                                                                                               USD 4,625.00

Bill As You Go Services
Billing Frequency: Monthly as Delivered

                         - - -                                               ----                                             - ------
    Item                                       1
                                                   Billing Role                  Quantity   Unit Price                        Total Price

    PARAGON ONLINE REMOTE TEAM                     Project Manager                    65    USD 180.00                        USD 11 ,700 .00

    PARAGON ONLINE REMOTE TEAM                     Solution Consultant                68    USD 180.00                        USD 12,240.00

    PARAGON ONLINE HRMS REMOTE                     Integration Consultant             34    USO 180.00                        USD 6,120.00
    TEAM

    PRO SVCS WFC UPGRADE                           Project Manager                   112    USD 0.00                          USD 0.00
    TO CLOUD HOSTING/SAAS
    CONVERSION

    PRO SVCS WFC UPGRADE                       Technology Consultant                  78    USO 0.00                          USD 0.00
    TO CLOUD HOSTING/SAAS
    CONVERSION

    PRO SVCS WFC UPGRADE                       Integration Consultant                 62    USD 0.00                          USD 0.00
    TO CLOUD HOSTING/SAAS
    CONVERSION

    PRO SVCS WFC UPGRADE                       Solution Consultant                    86    USD 0.00                          USD 0.00
    TO CLOUD HOSTIN G/SAAS
    CONVERSION

                                                                                                                              USD 30,060.00

Bill As You Go Instructor Lead Training
Billing Frequency: Monthly as Delivered


'Item                                                                                                    Points                             Total Price

    Bill-As-You-Go Instructor Lead Train ing                                                              7,750                          USD 7,750 .00

                                                                                                                                         USD 7,750.00

Quote Summary



                                                                                                                                             mm•~
                                                                                                                                             D8.m;
                             -                                                                                    -
,                                                                            :                                                              Total Price




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                                                                                                               Quote#: Q-27903
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I
Purchased Training                                                                                             USO 4,625 .00   I




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                                                                                                                                      Quote#: Q-27903
                                                                                                                                            Page 5/5

                                                                                   Kronos Incorporated

                                                                                   Signature:_ _ __   _ _ _ __          _



Name:                                                                              Name :_   _ _ _ __ __ __



Title:_ ~(._,<~
              ~- O _              _     _        _                                 Title:_ __   _   _ __ __      _



Effective Date: _ _7------t-/2d,~            ,+----
                                L-i/,___......
                                        L                                          Effective Date:_ __ __ _ __          _   _




Invoice amount will reflect deposit received . All professional services are billed as delivered with a payment term
of Net Upon Receipt. Unless otherwise indicated above, this order is subject to the attached terms and conditions
which the customer acknowledges have been read. THIS ORDER IS SUBJECT TO APPLICABLE TAXES. THE
ACTUAL TAX AMOUNT TO BE PAID BY CUSTOMER WILL BE SHOWN ON CUSTOMER'S INVOICE. Shipping
and handling charges will be reflected on the final invoice. The Monthly Price on this Order Form has been rounded
to two decimal places for display purposes. As many as eight decimal places may be present in the actual price.
Due to the rounding calculations, the actual price may not display as expected when displayed on your Order Form.
Nonetheless, the actual price on your invoice is the true and binding total for this order for purposes of amounts owed
for the term. If you are tax exempt; please provide a copy of your "Tax Exempt Certificate" with your signed quote.




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Statement of Work for AEGIS SENIOR
COMM NITI S, LLC
WFC Saas Migration




Sales Executive           Jennifer Ellis

Author                    James Polachy

Expiration Date           7/26/20 19

Quote Number              20 "19-49380

Revision #

Opportunity ID            Opp-261385

Status                    Approved

Customer SID              6072632




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Overview
This Statement of Work ("SOW") provides an overview of the project including scope, approach, costs,
and how the project will be managed. To support a successful implementation, the customer will
provide the required internal project resources.

Project Objectives wFc ~ <:
Ageis is installing WerlcklFcc DiffiensioAs on"ihe Kronos Professional Cloud to modernize their
workforce management platform, improve employee engagement, and reduce technological debt.

*No customs or customs reports included
*No additional interfaces included
*Additional services may require a change order and incurr fees




Proposed Solution
Module                                                        Project Type
Workforce Timekeeper                                          Upgrade
Workforce Manager                                             Upgrade
Workforce Employee                                            Upgrade
Workforce Integration Manager                                 Upgrade
Workforce.Scheduler                                           Upgrade
Workforce Accruals                                            Upgrade
Workforce HR                                                  Upgrade
Workforce Payroll                                             Upgrade
Workforce HR/Payroll Administrator                            Upgrade
KSS Tool Attestation Tool Kit                                 Upgrade

Project duration is expected to be 12 working weeks, based upon our experience with our customers
and products. Depending upon the preparation and engagement of your organization, there may be
opportunity to complete the project in a compressed duration. However, if project resources are
unprepared or unavailable, the duration of the project may need to be extended, increasing the budget
required to successfully complete this scope of work. Requests for additional scope or activities
outside of this planned project scope may be accommodated through the change process. In this
circumstance, Kronos may issue a change order to ensure the appropriate budget is available.

Kronos will deliver the scope of this project utilizing a remote approach.




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Knowledge Pass
KnowledgePassn,, is a subscription to an online educational portal. It provides enterprise access to
tutorials, task simulations , job aids, sandboxes, webinars, and additional educational documents to help
your team succeed.

KnowledgePass provides tools that allow you to build role specific learning paths and assign them to
your users. Kronos will guide you on the creation of 2 user roles, including title selection and learning
path assignments . The offering is delivered by a Knowledge Pass Mentor via a remote interactive
workshop.

Instructor Led Training
Kronos Instructor Led Training is purchased as Training Points. Training Points allow you to budget for
training with the flexibility to adjust your plan during implementation .

Core Team training will help your key functional and technical users to make informed solution design ,
configuration decisions and provide core product knowledge.
Module                                        Description
Workforce Timekeeper                          Public instructor led training for 2


Train-the-Trainer Programs prepares internal training teams to deliver user training to managers,
supervisors and employees.
Module                                        Description
Workforce Timekeeper                          Public instructor led training for 1
Workforce Scheduler for HC                    Public instructor led training for 1




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Project Approach
The project team will collaborate to establish a project plan with tasks, responsibilities, and milestone
dates and provide the foundation for project control. Kronos will complete an environment readiness
review with your project team resources to ensure the server environment is available and pre-
requisites have been installed. Kronos will perform test upgrade, deploy interfaces and complete
validation testing of upgraded environment. Upon completion of customer user acceptance testing ,
Kronos will complete the upgrade to production.

Project Leadership
Kronos will provide guidance through the life cycle of the project and provide best practices to
implement the solution. As the main point of contact, the Kronos Project Manager will partner with the
customer project leadership to develop the project plan to ensure objectives are achieved . The Kronos
Project Manager will also deliver a collaborative workspace, which will serve as the dashboard for all
aspects of the progress of the implementation .

Solution Assumptions
Workforce Central
    2 Workforce Central environment(s) included in this deployment
    Customer has SQL Database
    The Authentication method will be Standard
    3 existing interface(s) included


Workforce Timekeeper
    5 Standard Timeclocks will be upgraded
    5 Timeclocks with TouchlD will be upgraded


Workforce HR
    5 HR/PR Custom Reports
    10 HR/PR Interfaces


Workforce Payroll
    1 Custom check(s)




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Services Investment Summary
This SOW represents a time and materials engagement. Travel expenses are not included and will be
invoiced separately as incurred.

Service Type
Professional Services                                                                 $30,060.00
Educational Services                                                                  $12,375.00
                                                                                      $42,435.00




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Signatures and Approvals
SUBMITTED AND APPROVED BY KRONOS REPRESENTATIVE

By: - --       -   - - -- --          -   - - --       -     Date:- - - -- - - -- - -

Title:
          - - - - - - - - - -- -- -- - -
This Statement of Work is subject to the AEGIS SENIOR COMMUNITIES, LLC's Workforce Central
Saas or perpetual license ag reement with Kronos govern ing Professional and Education Services. By
signing below, the authorized AEGIS SENIOR COMMUNITIES, LLC's representative agrees to
purchase th e services described herein.



ACCEPTED AND AGREED
AEGIS SE~IOR       59·
               MUNIT             S, LLC

            l/;J/
By: - ------;,rr----:;r<-- - - - - - - - -- - - -                                  ) i~
                                                            Date:_ 1___,[..-=t~u.--+-' 1_ __
Titie :   _ - - -"'- '"""--r_o__________
AEGIS SENIOR COMMUNITIES, LLC may make necessary copies of this document for the sole
purpose of facilitating internal evaluation and/or execution of proposed proj ect. Otherwise , the
doc ument or any part th ereof may not be reproduced in any form without the written permission of
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                      WORKFORCE CENTRAL - SOFTWARE AS A SERVICE
                               TERMS AND CONDITIONS

Customer and Kronos Incorporated ("Kronos") agree that the terms and conditions set forth below shall apply
to the Kronos supply of the commercially available version of the Work fo rce Central SaaS Applications in
Kronos' hosting environment, the servi ces related thereto, and the sale or rental of Equipment (if any)
specified on a Kronos Order Form. The Applications descri bed on the Order Form shall be delivered by
means of Customer's permitted access to the Kronos infrastructure hosting such Applications.

Kronos and Customer hereby further agree that Kronos and/or its direct and indirect majority owned
subsidiaries may enter into orders with Customer and/or its direct and indirect majority owned subsidiaries
subject to the terms and conditions of this Agreement. By signing and entering into an Order Form that
expressly references this Agreement, each such subsidiary of Kronos and/or Customer will be deemed to
have agreed to be bound by the tenns and conditions of this Agreement and all references in this Agreement
to " Kronos" shall be references to the applicable Kronos entity entering into the order, and all references in
this Agreement to "Customer" shall be references to the applicable Customer entity entering into the order.

I. DEFINITIONS
"Acceptable Use Policy" means the Kronos policy describing prohibited uses of the Services as further
described at: https://www.kronos.com/policies/acceptable-use
 "Agreement" means these terms and conditions and the Order Form(s).
"Application(s)" or "Saas Application(s)" means those Kronos software application programs set forth on
an Order Form which are made accessible for Customer to use under the terms of this Agreement.
"Billing Start Date" means the date the billing of the Monthly Service Fees begin to accrue as indicated on
the applicable Order Form. Notwithstanding, Implementation Services provided on a time and material basis
are billed monthly as deli vered. The Billing Start Date of the Monthly Service Fees for any Services ordered
by Customer after the date of this Agreement which are incremental to Customer's then-existi ng Services
shall be the date the applicable Order Form is executed by Kronos and Customer.
"Cloud Services" means those services related to Customer's cloud environment as further described at:
http://www.kronos.com/products/workforce-central-cloud/cloud-guidelines.aspx
 "Confidential Information" means any non-public information of a party or its Suppliers relating to such
entity's business acti vities, financial affairs, technology, marketing or sales plans that is di sclosed pursuant
to this Agreement and reasonably should have been understood by the receiving party, because of(i) legends
or other markings, (ii) the circumstances of disclosure or (iii) the nature of the information itself, to be
proprietary or confidential to the disclosing party or its Suppliers.
"Customer Content." means all content Customer, or others acting o n behalf of or through Customer, posts
or otherwise inputs into the Services.
"Documentation" means user manuals published by Kronos relating to the feat ures and functionality of the
Applications.
"Equipment" means the Kronos equipment specified on an Order Form.
"Implementation Services" means those profess ional and educational services provided by Kronos to set
up the cloud environment and configure the Applications. Unless otherwise set forth on an Order Form as
"a la carte" services (supplemental fixed fee, fi xed scope services) or "bill as yo u go" services (time and
material services described in a Statement of Work), Kronos will provide, as part of the Monthly Service Fee
for the Applications, the fixed fee, fi xed scope Implementation Services described in the Services
Implementation Detail set fo rth at: https://www.kronos.com/wfc-saas-implementation-guideline-details-
flat-fee
 "Initial Te rm" means the initial billing term of the Services as ind icated on the Order Form. The lnitial
Term commences on the Billing Start Date. Customer may have access to the Services prior to the
commencement of the Initial Term.
"Knowlcdg ePass Content"/"KnowledgePass Education Subscription" have the meanings ascribed in
Section 7.5 .
"Monthly Service Fee(s)" means the monthly fees described in an Order Form. Monthly Service Fees
include fees for usage of the Applications and the Services, Cloud Services as applicable, and Equipment
rental, if any. Billing of the Monthl y Service Fee(s) commences on the Billing Start Date.




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"Order Form" means an o rde r form mutually agreed upon by Kronos and Custo mer setting fo11h the items
orde red by Customer and to be provided by Kronos, including without limitatio n the prices and fees to be
paid by Customer.
"Personally Identifiable Data" means informatio n concerning indi vidually identifiable employees o f
Customer that is protected against disclosure unde r applicable law or regulation.
"Renewal T enn" means the renewal billing term of the Services as indicated on the Order Form.
"Services" means (i) the Cloud Services, (ii) accessibility to the commercially available vers io n o f the
Applications by mea ns of access to the password protected c ustome r area of a Kronos website, and all suc h
services, ite ms and offerings accessed by Customer therein, and (ii) the Equipme nt rented here under, if a ny.
"Statement of \\1ork", "SO\V", "Services Scope Statement" and "SSS" are interchangeable terms
referring to a writte n description o f the Imple mentation Services mutually agreed upon by Kronos a nd
Customer and set fo11h as " bill as you go" services on the Order Form.
"Supplier" means any contractor, subcontractor or licensor of Kronos providing so ftware, equipment and/o r
services to K ro nos which are incorporated into or otherwise related to the Services. Kronos may at its so le
discretion replace a Supplier, provided that a change to Supplie r will not have a materially adverse effect on
the Services delivered by Kronos under this Agreement.
"Term" means the Initial Term and any Renewal Terms the reafter.
"Training Points" has the meaning ascribed to it in Sectio n 7.6 below.

2. TERM
2.1 Billing for the Services commences on the Billing Start Date, and continues for the Initial Te rm o r until
terminated in accordance with the provisions hereof. At the expiration o f the Initia l Term and each Re ne wal
Term as applicable, the Services shall automatically renew each year for an additional Re newal Term until
terminated in accordance with the provisions he reo f.
2.2 E ither party may terminate the Services and this Agreement to be effective at the expiration o f the then
current Term upon no less than sixty (60) days prior written notice.
2.3 E ither party may terminate the Services and the Agreement upon a material breach o f the Agreement
by the othe r party if such breach is not cured within thirty (30) days after receipt of writte n notice.
2.4 In the event that either party becomes inso lvent, makes a gene ral assignment for the benefit of creditors,
is adjudicated a bankrupt or insolvent, commences a case under applicable bankruptcy laws, o r files a petition
seeking reorganization, the other party may request adequate assurances of future performance. Failure to
provide adequate assurances, in the requesting party's reasonab le discretion, within ten {I 0) days of delivery
of the request shall e ntitle the requesting party to te rminate the Agreement immediately upon written notice
to the o ther party.
2.5 lfthe Agreement is te rminated for a ny reason:
(a) Customer shall pay Kronos within thirty (30) days of such termination, all fees accrued and unpaid unde r
     this Agreement prior to the effective date of such terminatio n, provided however, if Custo mer terminates
     for material breach of the Agree ment by Kronos, Kronos shall refund Customer any pre-paid fees fo r
     Services no t delivered by Kronos;
(b) Customer's right to access and use the Appli cations shall be revoked a nd be of no furth er fo rce or effect
     and return rented Equipment as provided in Section 9.1 below;
(c) Customer agrees to timely return all Kronos-provided material s related to the Services to Kronos at
     Customer' s expense o r, alternatively, destroy s uc h materials a nd provide Kronos with an offi ce r ' s
     certificatio n o f the destruction thereof; and
(d) All provisio ns in the Agreement, which by their nature are intended to survive te rmination, shall so
     survive.
2.6 Customer Content shall be available to Customer to re trieve at any time and at no additional charge
throughout the Term and fo r no more than thirty (30) days after expirati on or terminati on of the Agreement
for any reason. After suc h time period , Kronos sha ll have no furthe r obligatio n to store o r make ava ilable
the Customer Conte nt and will securely delete all Custo mer Content without liability of any kind.


3. FEES AND PAYMENT
3.1 Customer s hall pay Kronos the Monthly Service Fees, the fees fo r the Imple me ntatio n Services and any
add itional o ne time or recurring fees fo r Equ ipme nt, Tra ining Points, KnowledgePass Education Subsc ription
and such other Kronos o fferings, all as set forth o n the Order Form. The Monthly Ser vice Fees will be
invoiced on the frequency set forth on the O rder Form ("Billing Frequency"). I f Customer a nd Kronos


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 have signed a Statement of Work for the Implementation Services, Imple me ntation Services will be invoiced
 monthly as delivered unless o therwise indicated on the Order Form. If Kronos is providing Imple mentation
 Services in accordance with the Services Implementation Guideline or as "a la ca11e" services on the Order
Form, Kronos will invoice Customer for Impleme ntation Services in advance o f providing suc h
 Implementatio n Services unless otherwise indicated on the Orde r Form. All other Kronos offerings will be
invoiced upon execution of the applicable Order Form by Kronos and Customer. U nless otherwise indicated
on an Order Form, payme nt for all items shall be due 30 days following date o f invo ice. All payments shall
be sent to the attention of Kronos as specified on the invoice. Except as express ly set forth in this Agreement,
all amounts paid to Kronos are non-re fundabl e. Customer is responsible for all applicable fe deral, state,
country, provincial or local taxes relating to the goods and se rvices provided by Kronos here under (including
without limitation GST and/or VAT if applicable), excluding taxes based on Kronos' inco me or business
privilege.
3 .2 If a ny amount owing under this o r any other agreement be twee n the parties is thi11y (30) days or more
overdue, Kronos may, without limiting Kronos' rig hts or remedies, suspend Services until such amounts are
paid in full. Kronos will provide at least seve n (7) days prior written notice that Customer's account is
overdue before suspending Services.
3.3 At the later of(i) one (I) year after the e ffective date of this Agreement, or (ii) expiration of the Initial
Term, a nd at each annua l anniversary of that date the reafter, Kronos may increase the Monthly Service Fee
rates in an amount not to exceed four percent (4%). The increased Monthly Service Fees will be reflected in
the monthly invoice following the effec tive date o f such increase without additional notice .

4. RIGHTS TO USE
4.1 Subject to the terms and conditions of the Agreement, Kro nos hereby grants C usto mer a limited,
revocable, non-exclusive, non-trans ferable, no n-ass ignable right to use during the Term and for internal
business purposes only: a) the Applications and related services, including the Docume ntation; b) training
materials and KnowledgePass Content; and, c) any embedded third pai1y software, libraries, or other
components, which form a part of the Services. The Services contain proprietary trade secret technology of
Kronos and its Suppliers. Unauthorized use and/or copying of such techno logy are prohibited by law,
including United States and foreign copyright law. Customer shall not reverse compil e, disassemble or
otherwise convert the Applications or other software comprising the Services into uncompiled or
unassembled code. Customer shall not use any of the third party software programs (or the data models
therein) included in the Services except solely as part of and in connection with the Services. The JBoss®
Enterpri se M iddleware components o f the Service are subject to the end user license agreement found at
http ://www.redhat.com/ licenses/ jboss eula. html C ustomer acknowledges that execution of separate third
party agreements may be required in order for Custo mer to use certain add-on features or functionality,
including without limitation tax filing services.
4.2 Customer acknowledges and agrees that the right to use th e Applicatio ns is limited based upon the
amount of the Monthly Service Fees paid by Customer. Customer agrees to use o nly the modul es and/or
features for the numbe r of e mployees and users as described o n the O rder Form. Custo mer agrees not to use
a ny other modules o r features nor inc rease the number of e mployees and users unless Customer pays for such
additional modules, features, employees or users, as the case may be. Customer may not lice nse, relicense
or sublicense the Services, or otherwise permit use of the Services (including timesharing or networking use)
by any third party. Customer may no t provide service bureau o r o ther data processing serv ices that make use
of the Services without the express prior written consent of Kronos. No license, right, or interest in any
Kronos trade mark, trade na me, or service mark, or those of Kronos ' licensors or Supplie rs, is granted
here under.
4.3 Customer may authorize its third party contractors and consultants to access the Services through
Customer's administrative access pri vileges on an as needed basis, prov ided Customer: a) abides by its
obligations to protect Confide ntial Informa tio n as set fo rth in thi s Agreeme nt ; b) re mains respo nsi bl e for all
such third party usage a nd compliance with the Agreeme nt; a nd c) does not provide suc h access to a
co mpetito r of Kronos who provides workforce manageme nt services.
4.4 Customer acknowledges and agrees that, as between C usto mer and Kronos, Kronos retains ownership
of all rig ht, title and interest to the Serv ices, all of which are protected by copyrig ht and o ther intellectual
property rights, a nd that, othe r than the express ri ghts granted here in and under any o ther agreement in writing
with C ustomer, Customer shall no t obtain or claim any rig hts in or ownership interest to the Services or
Application s or any assoc iated intellec tual pro pe rty rights in a ny of the forego ing. Custo mer agrees to




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comply with all copyright and other intellectual property rights notices contained on or in any information
obtained or accessed by Customer through the Services.
4.5 When using and applying the information generated by the Services, Customer is responsible for ensuring
that Customer complies with applicable laws and regulations. If the Services include the Workforce Payroll
Applications or Workforce Absence Management Applications: (i) Customer is solely responsible for the
content and accuracy of all reports and documents prepared in whole or in part by using these App lications,
(ii) using these App lications does not re lease Customer of any professional obligation concerning the
preparation and review of any reports and documents, (iii) Customer does not rely upon Kronos, Best
Software, Inc. or these Applications for any advice or guidance regarding compliance with federal and state
laws or the appropriate tax treatment of items reflected on such reports or documents, and (iv) Customer will
review any calculations made by using these Applications and satisfy itself that those calculations are correct.

5. ACCEPT ABLE USE
5.1 Customer shall take all reasonable steps to ensure that no unauthorized persons have access to the
Services, and to ensure that no persons authorized to have such access shall take any action that would be in
violation of thi s Agreement. Customer is responsible for all activities undertaken under the auspices of its
passwords and other login credentials to use the Services.
5.2 Customer represents and warrants to Kronos that Customer has the right to publish and disclose the
Customer Content in c01rnection with the Services. Customer represents and warrants to Kronos that the
Customer Content wi ll comply with the Acceptable Use Policy.
5.3 Customer will not (a) use, or allow the use of, the Services in contravention of the Acceptable Use Policy.
5.4 Kronos may suspend the Services immediately upon written notice in the event of any security risk,
negative impact on infrastructure or Acceptable Use Policy vio lation.

6. CONNECTIVITY AND ACCESS
Customer acknowledges that Customer shall (a) be responsible for securing, paying for, and mainta111111g
connectivity to the Services (including any and all related hardware, software, networking, internet access,
third party services and related equipment and components); and (b) provide Kronos and Kronos'
representatives with such physical or remote access to Customer's computer and network environment as
Kronos deems reasonably necessary in order for Kronos to perform its obligations under the Agreement.
Customer will make all necessary arrangements as may be required to provide access to Customer's
computer and network environment if necessary for Kronos to perform its obligations under the Agreement.

7. IMPLEMENTATION AND SUPPORT
7.1 lmp/ementalion Services.           Kronos will provide the Implementation Services to Customer.
Implementation Services described in an SOW are provided on a time and materials basis, billed monthly as
delivered unless otherwise indicated on the Order Form. Implementation Services described in the Services
Implementation Guideline are provided on a flat fee basis. If Customer requests add itional Implementation
Services beyond those described in the Services Implementation Guideline, Kronos will create a change order
fo r Customer's review and approval and any additional Implementation Services to be provided by Kronos
wi ll be billed as delivered at the then-current Kronos professional services rates. Kronos' configuration of
the App lications wi ll be based on information and work flows that Kronos obtains from Customer during the
discovery portion of the implementation. Customer shall provide Kronos with all necessary and accurate
configuration-re lated information in a timely manner to ensure that mutually agreed implementat ion
schedules are met. In the event that Kronos is required to trave l to Customer's location during the
implementation, Customer agrees to pay any trave l expenses, such as airfare, lodging, meals and local
tran sportation, plus an administrative fee often percent ( I0%) of the amount o f such travel expenses, incurred
by Kronos in accordance with the then-current standard Kronos travel and expense policies, which Kronos
will provide to Customer upon request. Kronos shall invoice Customer for such travel expenses and payment
thereof shall be due net thirty (3 0) days from date of invoice. Kronos' then-current Professional/Educational
Services Policies shall apply to all Implementation Services provided by Kronos and may be accessed at:
http://www.kronos.com/Support/Professio nalServicesEngagementPolic ies.htm              ("Profess ional    Services
Policies"). In the event of a conflict between the Profess ional Serv ices Policies and this Agreement, the
terms of thi s Agreement shall prevail.
7.2 Additional Services. Customer may engage Kronos to provide other se rvices which may be fixed by
activity ("a la carte") or provided on a time and materials basis ("bill as you go") as indicated on the applicable
Order Form.


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7.3 Support. Kronos will prov ide 24x7 support for the clo ud infrastructure, the availability to the cloud
env ironme nt, a nd telephone s upport fo r the logging o f func tional problems and user problems. Custome r
may log questio ns online v ia the K ronos C ustomer Portal. As part o f s uc h suppo rt, K ro nos will make upda tes
to the Services available to Customer at no c harge as such updates are released generally to Kronos'
custome rs. Customer agrees that Kronos may install critical security patc hes a nd infrastructure updates
automa tically as part of the Services. Kronos' then-curre nt Suppo rt Services Po licies shall apply to all
Support        Serv ices      provided        by     K ro nos       and        may        be       accessed       at:
http://www.kronos.com/Support/SupportServicesPo licies.htm ("Support Policies"). In the event of a conflict
between the Support Policies and thi s Agreement, the te rms of this Agreement shall prevail.
7.4 Support Services for Equipment. Provided C ustomer has purchased s upport services for the Equipment,
the fo llowing terms shall apply (Depot Excha nge support services fo r rented Equipment a re included in the
rental fees for such Equipment):

(a) Customer may se lect, as ind icated on a n Orde r Form, a n Eq uipment Suppo11 Services o ption offered by
the loca l Kronos entity responsible fo r supporting the Equipment if a nd as such offerings a re availa ble within
the K ronos te rritory correspo nding to the Equipme nt 's location. Kronos shall provide each Equipment
Support Services offe ring as specified he rein.
           (i) Depot Exchange a nd Depot R epair. I f Custo mer has se lected Depo t Exchange or Depot R epair
Equipment Support Services, the fo llowing provisions shall apply: Upon the failure o f installed Equipment,
Customer shall notify Kronos of s uch fa ilure a nd Kronos will provide remote fa ult isolation at the FRU (F ield
Re placement U nit) or subassembly le vel and atte mpt to reso lve the proble m. Those failures determined by
K ronos to be Equipme nt related shall be dispatc hed to a Kronos Depot Repair Center, and Customer will be
provided with a Return M aterial Authorization N umber (RMA) for the fa iled Equipment if Custome r is to
return the failed Equipment to Kronos, as reasonably determined by K ronos. Customer must return the fail ed
Equipment with the suppli ed RMA nu mber. Hours of operation, locations and other information related to
Kronos' Depot Re pair Centers are available upon request a nd a re subject to c hange. Return a nd re pair
procedures for fa iled Equipment shall be provided based on the Depot option - Depot Excha nge o r Depot
Repair - se lected by Custome r o n the applicable Orde r F orm and as specifie d he rein a nd in Kronos ' the n-
curre nt Support Serv ices Policies. Service packs fo r the Equipme nt (as described in subsection (ii) below)
are incl uded in both Depot Exchange a nd Depo t Repair Suppo rt Services.

         Depot Exchange: Kronos will provide a replaceme nt fo r the fail ed Equipme nt at the F RU or
         subassembly level on an "advanced excha nge" bas is, utili zing a carrier of Kronos' c ho ice.
         Repl aceme nt Equipment will be shipped fo r deli very to Customer 's location as further described in
         the Support P olicies. REPLACEMENT EQUIPMENT MAY BE NEW OR RECONDITIONED.
         Custo mer shall spec ify the address to which the Equi pment is to be shipped. All shipments will
         include the Kronos provided R MA designating the applicable Kronos Depot Repair Center, as the
         recipient. Customer, upon rece ipt of the repl acement Equipment from Kronos, shall package the
         defective Equipme nt in the ma terials provided by K ronos, with the RMA supplied and promptly
         return failed Equipment directly to K ronos.

         Depot Repair: Upon fa ilure of installed Equipme nt, Customer shall install a Spare Product (as
         defined below) to replace the fa il ed Equipment. Custome r shall then return the fa iled Eq ui pment,
         with the required RMA, to the applicable Kronos Depot Repair Center. Custo mer shall make
         reasonable efforts to return the fa iled Equi pment using the same or substantiall y simila r packing
         materials in which the original Equipment was sent. Custo mer shall also spec ify the address to whi ch
         the repaired Equipment should be return shi pped. Upon rece ipt o f the failed Equipment, Kronos
         shall repair the failed Equipment and ship it, within ten ( I 0) bus iness days after receipt, to Custome r.
         Kronos shall ship the repaired Equipme nt by regula r surface transportation to C usto mer.

         (ii) Device Software Updates Onl y. If Custo mer has selected Device Soft ware Equi pme nt Suppo rt
Services, Customer sha ll be e ntitled to receive:
         (A) Service pac ks for the Equipme nt (which may contain system software updates, firmware
         updates, security updates, a nd feature enhanceme nts) available for download at Kronos' c ustomer
         portal. Service packs for the Equipme nt a re not installed by the Kronos Depot Repair Center but
         are ava ilable for download at Kronos' customer portal, provided C ustomer is maintaining the
         Equipment under an annual Equipme nt Support Services plan with Kro nos.; a nd



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          (B) Access to the Kronos Support Services Center for the logging of requests for assistance
          downloading service packs for the Equipment.

(b) Warrnnty . Kronos warrants that all service packs and firmware updates provided under this Agree ment
shall perform in accordance with the Kronos published specifications in all material respects for a period of
ninety (90) clays after download by Customer. ln the event ofa breach of this warranty, Customer's exclusive
remedy shall be Kronos' repair or replacement of the deficient service pack(s) or firmware update(s), at
Kronos' option, provided that Customer's use, installation and maintenance thereof have conformed to the
specificati ons.

(c) Responsibilities of Customer. It is Customer's responsibility to purchase and retain, at Customer's
location and at Customer's sole risk and expense, a sufficient number of spare products ("Spare Products")
to allow Customer to replace failed Equipment at Customer's locations in order for Customer to continue its
operations while repairs are being performed and replacement Equipment is being shipped to Customer. For
each of the Depot Exchange and Depot Repair Equipment Support Services options, Customer agrees that it
shall return failed Equipment promptly as the failures occur and that it shall not hold failed Equipment and
send failed Equipment to Kronos in "batches" which shall result in a longer turnaround time to Customer. In
addition, Customer agrees to:
          (i) Maintain the Equipment in an environment confo rming to the Kronos published specifications
          for such Equipment;
          (ii) Not perform self-repairs on the Eq uipment (i.e., replacing components) without prior written
          authorization from Kronos;
          (iii) De-install all failed Equipment and install all replacement Equipment in accordance with
          Kronos' written installation guidelines;
          (iv) Ensure that the Equipment is returned to Kronos properly packaged; and
          (v) Obtain an RMA before returning any Equipment to Kronos and place the R.MA clearly and
          conspicuously on the outside of the shipping package. Customer may only return the specific
          Equipment authori zed by Kronos when issuing the RMA.

(cl) Delive,y . All domestic shipments within the United States are FOB Destination to/from Customer and
Kronos with the shipping party bearing all costs and risks of loss, and wi th title passing upon delivery to the
 identified destination. All international shipments from Kronos to Customer are DAP (Jncote1111s 20 I 0) to
the applicable Customer location, and are DDP (lncoterms 2010) to the applicable Kronos Depot Repair
Center when Customer is shipping to Kronos, and with title passing upon delivery to the identified
destination. Customer is responsible for all duties and taxes when sending Equipment to Kronos.
7.5 Know/edgePass Education Subscription. When KnowleclgePass Education Subscription is purchased
on an Order Form (i.e., not indicated as "Included" in the Monthly Service Fees), Kronos will provide
Customer with the KnowledgePass Education Subscription fo r a period of one ( 1) year from execution of the
Order Form. Kronos will send Customer a renewal invoice fo r renewal of the KnowleclgePass Education
Subscription, and the KnowleclgePass Education Subscription shall renew for an additional one (I) year term
if Customer pays such invoice before the encl of the then-current term for the KnowledgePass Education
Subscription. The KnowledgePass Education Subscription provides access to certain educational offerings
provided by Kronos (the "KnowledgePass Content"). Customer recognizes and agrees that the
KnowledgePass Content is copyri ghted by Kronos. Customer is permitted to make copies of the
KnowleclgePass Content provided in *pdf for m solely for Customer's internal use. Customer may not
di sclose such KnowledgePass Content to any third party other than Customer's employees. Customer may
not edit, modify, revise, amend, change, alter, customize or vary the KnowledgePass Content without the
written consent o fKronos, prov ided that Customer may download and modify contents of training kits solely
for Customer's internal use.
7.6 Training l'oinls. "Training Points" are points which are purchased by Customer that may be redeemed
for an equivalent value of instructor-led training sessions offered by Kronos. Training Points may be redeemed
only during the Term but only prior to the date which is no more than twelve (I 2) months after the date oft he
Order Form pursuant to which the Training Points were acquired, after which time such Training Points shall
expire and be of no value. Training Points may not be exc hanged for other Kronos products or services.
7.7 Training Courses. When Training Points or training sessions are set fo rth in an SSS, the SSS applies.
When Trai ning Points or training sessio ns are not set forth in an SSS, as part of the Services, fo r each SaaS
app lication module included in the Services purchased by Customer, Customer' s employees shall be entitled


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to attend, in the quantity indicated, the corresponding training courses set forth at:
www.kronos.com/products/workforce-central-saas/training-guidlines.aspx
Participation in such training courses is limited to the number of seats indicated for the courses corresponding
to the modules forming a part of the Services purchased by Customer.
7.8 Technical Account lvlanager. Customers purchasing a Kronos Technical Account Manager ("TAM") as
indicated on the Order Form shall receive the services of a dedicated, but not exclusive, TAM for one
production instance of the Software. Customer will designate up to two primary and three secondary backup
technical contacts ("Technical Contacts") to be the sole contacts with the TAM. Upon request, Customer
may designate a reasonable number of additional and/or backup Technical Contacts. Customer is required
to place all primary Technical Contacts th rough Kronos training fo r the Applications covered under this
Agreement at Custome r's expense.

8. CUSTOMER CONTENT
Customer s hall own all Customer Content. Kronos acknowledges that all of the Customer Content is deemed
to be the Confidentia l Information of C ustome r. Customer will e nsure that all Customer Content conforms
with the terms of this Agreeme nt and applicable law. Kronos and its Suppliers may, but shall have no
obligation to, access a nd monitor Customer Content from time to time to provide the Services and to ensure
compliance with this Agreement and applicable law. Customer is so lely responsible for any claims re lated
to C ustomer Content and for properly handling and processing notices that are sent to Customer regarding
Customer Content.

9. EQUIPMENT
If Customer purchases or rents Equipment from Kronos, a description of such Equ ipme nt (model and
quantity), the appli cable pricing, a nd delivery terms shall be li sted on the Order Form.

9.1 Rented Equipment. The fo llowing terms apply on ly to Equipment Customer rents from Kronos:
(a)        Rental Term and Warranty Period. T he term of the Equipment rental a nd the "Warranty Period" for
suc h Equipment shall run coterminously with the Tenn of the other Services provided under the Agreement.
(b)        Insurance. C ustomer shall insure the Equipment for an amount equal to the re place ment value of
the Equipment for loss or damage by fire, the ft, and all normal extended coverage at all times. No loss, theft
or damage after shipment of the Equipment to Customer shall relieve Customer from Customer's obligations
under the Agree ment.
(c)        Location/Replacement. Customer shall not make any alterations o r re move the Equipment from the
place of original installation without Kronos' prior written consent. Kronos shall have the right to enter
Customer' s premises to inspect the Equipme nt during normal business hours. Kronos reserves the rig ht, at
its sole di scretion and at no additional cost to Customer, to replace any Equipment with newer or alternative
tec hnology Equipment as long as the replacement Equipme nt at least provides the same level of functionality
as that being replaced.
(d)        Ownership. All Equipment shall remain the property ofKronos. All Equipment is, and at all times
sha ll re main, separate items of personal property, notwithstanding such Equipment's attachment to o ther
equipment or real property. C ustomer shall not sell or otherwise encumbe r the Equipment. Custo me r shall
furnish any assurances, written or otherwise, reasonably requested by Kronos to give full effect to the intent
of te rms of this paragraph ( cl).
(e)        Eq uipment Suppo11. Kronos shall provide to Custo mer the Equipment support services described
in Section 7.
(f)        Return of Eq uipment. Upon te rmina tion of the Agreement or the applicable Order Form, Customer
shall re turn, within thirty (30) days of the effective date of termination and at Customer' s expense, the
Equipme nt subject to thi s Section 9.1. Equipme nt will be re turned to Kronos in the same condition as and
when received, reasonable wear and tear excepted. If Custo me r fai ls to return Equipment within thi s time
period, upo n receiving an invoice from Kronos, Custome r s ha ll pay Kronos the then list price of the
unreturned Eq uipment.

9.2 Purchased l:quipment. The fo llowing te rms apply only to Equipment C ustomer purc hases from Kronos:
(a)       Title and Warranty Period. When the Order Form ind icates FOB - Shi pping Point, title to the
Eq uipme nt passes to Custome r upon delivery to the carrier; for all other s hipping terms, title passes upon
deli very to Custome r. The "Warranty Period" for the Equipment shall be for a period of 90 days from
suc h delivery (unl ess otherwise required by law).


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(b)       Kronos shall provide to Customer the Equipment support services described in this Agreement if
purchased separately by Customer as indicated on the applicable Order Form. If purchased, Equipment
support services have a term of one (I ) year commencing upon expiration of the Warranty Period.
Equipment support services will be automaticall y extended for additional one (I) year term s on the
anni versary of its co mmencement date ("Renewal Date"), unless either party has given the other thi rty (30)
days written noti fication of its intent not to renew. Krnnos may change the annual support charges for
Equipment support services effec tive at the end o f the initial one ( 1) year term or effective on the Renewal
Date, by giving Customer at least thirty (30) days prior written notification.

9.3 F.quipment with Finger Scan Sensor Technology. The fo llowing terms apply only to any Equipment with
 finger scan sensor technology purchased by Customer from 'Kronos or a Kronos reseller ("Finger Scan
Equipment"):
(a) To the extent that any biometric privacy laws may apply to Customer's use of the Fi nger Scan Eq uipment,
Customer warrants that they will comply with any such laws prior to commencing use of the Finger Scan
Equipment and will remain in compliance at all times. Customer further warrants that, if required by law,
prior to such use it will (i) obtain signed releases from employees consenting to the use of the Finger Scan
Equipment for employee timekeeping purposes and (ii) issue policies made available to their employees and
the public regarding its retention and destruction of the Finger Scan data. Customer fu11her warra nts that it
will ensure that any releases, consents, or policies, as required by applicable law, will by their terms expressly
apply to Kronos and its authorized subcontractors.
(b) Customer agrees to defend, hold harmless and indemni fy Kronos, its employees, directors, parent,
subsidiaries and authorized partners and subcontractors (collectively, "Kronos lndemnitees") for any claims,
damages, penalties or fines asserted or awarded against a Kronos lndemnitee arising out of or relating to
Customer's breach of any of the foregoing warranti es in Section 9.3(a) above. Upon receipt of such notice,
the Customer shall assume sole control of the defense and settlement of suc h claim; provided that (i) Kronos
will be entitled to participate in the defense of such claim and to employ counsel at its own expense to assist
in the handling of such claim, on a monitoring and a non-contro lling basis; (ii) Customer shall not settle any
claim on any terms or in any manner that adversely affects the rig hts of Kronos without its prior written
consent; and (iii) Kronos will provide reasonable cooperation and assista nce at Customer's sole cost and
expense.

IO. SERVICE LEVEL AGREEM ENT
Kronos shall provide the service levels and associated credits, when applicable, in accordance with the
Service Level Agreement attached hereto as Exhibit A and which is hereby incorporated herein by reference.
CUSTOMER' S SOLE Al\TD EXCLUS IVE REMEDY TN THE EVENT OF ANY SERVICE OUTAGE OR
INTERRUPTION OF THE SERVICES OR FAILURE BY KRONOS TO i'vlEET THE TE RMS OF THE
APP LICABLE SERVICE LEVEL AGREEMENT, SHALL BE THE REMEDfES PROVIDED TN
EXHIBIT A.

11. LIMITED WARRANTY; DISCLAIMERS OF WARRANTY
11.1 Kronos represents and warrants to Customer that the Applications, under normal operation as specified
in the Documentation and when used as authori zed herein, will perform substantially in acco rdance with such
Documentation during the Tenn.
11.2 Kronos' sole obligation and Customer's sole and exclusive remedy for any breach of the foregoing
warranty is limited to Kronos' reasonable commercial efforts to correct the non-confo rming Applications at
no additional charge to Customer. In the event that Kronos is unable to correct material deficiencies in the
Services arising during the Wan anty Period, after using Kronos' commercially reasonable efforts to do so,
Customer shall be enti tled to terminate the then remaining Term of the Agreement as Customer's sole and
exclusive remedy. Kronos' obligations hereunder for breach of wa rranty are conditioned upon Customer
notifying Kronos of the materi al breach in writing, and providing Kronos with sufficient evidence of such
non-conformity to enable Kronos to reproduce or verify the same.
11.3 Kronos warrants to Customer that each item of Eq uipment shalI be free from defects in materials and
workmanship during the Warranty Period. In the event o f a breach of this warran ty, Customer's sole and
exclusive remedy shall be Kronos' repair or replacement of the de ficient Equipment, at Kronos ' option,
provided that Customer's use, installation and maintenance thereof have conformed to the Documentation
fo r such Equipment. This warranty is extended to Customer only and shall not apply to any Equipme nt (or
parts thereof) in the event of:


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(a)      damage, defects or malfunctions resulting from misuse, accident, neglect, tampering, (including
without limitation modification or replacement of any Kronos components on any boards supplied with the
Equipment), unusual physical or electrical stress or causes other than normal and intended use;
(b)      failure of Custome r to provide and maintain a suitable installation environment, as specified in the
published specifications for such Equipment; or
(c)      malfunctions resulting from the use of badges or supplies not approved by Kronos.

EXCEPT AS PROVIDED FOR IN THIS SECTION 11 , KRONOS HEREBY DISCLAI MS ALL
WARRANTIES, CONDITIONS, GUARANTfES AND REPRESENTATIONS RELATING TO THE
SERVICES, EXPRESS OR IMPLIED, ORAL OR lN WRITING, INCLUDI NG WITHOUT UM1TATION
THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE,
TITLE AND NON-INFRINGEMENT, AND WHETHER OR NOT ARISING THROUGH A COURSE OF
DEALING, INCLUDING, WITHOUT LIMITATION, ANY WARRANTY THAT MAY OTHERWISE
ARISE PURSUANT TO ANY STATUTE, CODE, COMMON LAW OR JUDICIAL DECISION. THE
SERVICES ARE NOT GUARANTEED TO BE ERROR-FREE OR UNlNTERRUPTED. EXCEPT AS
SPEClflCALLY PROVIDED IN THIS AGREEMENT, KRONOS MAKES NO WARRANTIES OR
REPRESENTATIONS CONCERNING THE COMPATIBILITY OF THE SERVICES, THE SAAS
APPLICATIONS OR THE EQUIPMENT NOR ANY RESULTS TO BE ACHIEVED THEREFROM.

12. DATA SECURITY
12. 1 As part of the Services, Kronos shall provide those administrative, physical, and technical safeguards
for protection of the security, confidentiality and integrity of Customer data as described at:
http://www.kronos.com/products/workforce-central-cloud/cloud-guidelines.aspx
12.2 As between Customer and Kronos, all Personally Identifiable Data is Customer's Confidential
Information and will remain the property of Customer. Customer represents that to the best of Customer's
knowledge such Pe rsonally Identifiable Data supplied to Kronos is accurate. Customer hereby consents to
the use, processing or disclosure of Personally Identifiable Data by Kronos and Kronos ' Suppliers wherever
located only for the purposes described herein and only to the extent such use or processing is necessary for
Kronos to carry out Kronos' duties and responsibilities under the Agreement or as required by law.
12.3 Prior to initiation of the Services under the Agreement and on an ongoing basis thereafter, Customer
agrees to provide notice to Kronos of any extraordinary privacy or data protection statutes, rules, or
regulations which are or become applicable to Customer's industry and which could be imposed on Kronos
as a result of provision of the Services. Customer will ensure that: (a) the transfer to Kronos and storage o f
any Personally Identifiable Data by Kronos or Kronos' Supplier's data center is permitted under applicable
data protecti on laws and regulations; and, (b) Customer will obtain consents from individuals for suc h
transfer and storage to the extent required under applicable laws and regulations.

13. INDEMNIFICATION
13. 1 Kronos shall defend Customer and its respective directors, officers, and employees (collectively, the
"Customer Indemnified Parties"), from and against any and all notices, charges, claims, proceedings,
actions, causes of action and suits, brought by a third pa1ty (each a "C laim") alleging that the permitted uses
of the Services infringe or misappropriate any United States or Canadian copyright or patent , and Kronos
will indemni fy and hold harmless the Customer Indemnified Parties against any liabilities, obligations, costs
or expenses (including without limitation reasonable attorneys' fees) actually awarded to a third party as a
result of such C laim by a co urt of applicable jurisdiction or as a result of Kronos' settlement of such a Claim.
In the event that a final injunctio n is obtained aga inst Customer's use of the Services by reason of
infringement or misappropriation of such copyright or patent, or ifin Kronos' opinion, the Services are likely
to become the subject of a successful claim of such infringement or misappropriation, Kronos, at Kronos'
option and expense, will use commercially reasonable efforts to (a) procure for Customer the right to continue
using the Services as provided in the Agreem ent, (b) replace or modify the Services so that the Services
become non-infringing but remain substantively similar to the affected Services, and if neither (a) or (b) is
commercially feasible, to ( c) terminate the Agreement and the rights granted hereunder after provision of a
refund to Customer of the Monthl y Service Fees paid by Customer for the infringing elements of the Services
covering the period of their unavailability.
 l3.2 Kronos shall have no liability to indemnify or defend Customer to the extent the all eged infringement
is based on: (a) a modificati on o f the Services by anyone other than Kronos; (b) use of the Applications other
than in accorda nce with th e Documentation for such Service or as authorized by the Agreement; (c) use of


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the Services in conjunction with any data, equipment, service or software not provided by Kronos, where
the Services would not otherwise itself be infringing or the subject of the claim; or (d) use of the Services by
Customer other than in accordance with the tem1s of the Agreement. Notwithstanding the foregoing, with
regard to infringement claims based upon software created or provided by a licensor to Kronos or Suppliers,
Kronos ' maxi mum liab ility will be to assign to Customer Kronos' or Supplier's recovery rights with respect
to such infringement claims, provided that Kronos or Kronos' Supplier shall use commercially reasonable
effo11s at Customer's cost to assist Customer in seeking such recovery from such licensor.
13.3 Customer shall defend Kronos, its Suppliers and their respective directors, officers, employees, agents
and independent contractors (collectively, the "Kronos Indemnified Parties") from and against any and all
Claims, and will indemnify and hold harmless the Kronos Indemnified Parties against liabilities, obligations,
costs or expenses (including without limitation reasonable attorneys' fees), arising out of: (a) employment-
related claims arising out of Customer's configuration of the Services; (b) Customer's modification or
combination of the Services with other services, software or equipment not furnished by Kronos, provided that
such Customer modification or combination is the cause of such infi-ingement and was not authorized by
Kronos; or, (c) a claim that the Customer Content infringes in any manner any intellec tual prope11)' right of
any third party, or any of the Customer Content contains any material or information that is obscene,
defamatory, libelous, or slanderous violates any person's right of publicity, privacy or personality, or has
otherwise caused or resulted in any tort, injury, damage or harm to any other person. Customer wi ll have
sole control of the defense of any such action and all negotiations for its settlement or compromise. Kronos
will cooperate fully at Customer's expense with Customer in the defense, settlement or compromise of any
such action.
13.4 The Indemnified Party( ies) shall provide written notice to the indemnifyi ng par1y promptly after
receiving notice of such Claim. lfthe defense of such Claim is materially prejudiced by a delay in providing
such notice, the purported indemnifying party shall be relieved from providing such indemnity to the extent
of the delay's impact on the defense. The indemnifying party shall have sole control of the defense of any
indemnified Claim and all negotiations for its settlement or compromise, provided that such indemnifying
party shall not enter into any settlement which imposes any obligations or restrictions on the app licable
Indemnified Parties without the prior written consent of the other party. The Indemnified Parties shall
cooperate fully, at the indemnifying party's request and expense, with the indemnifying party in the defense,
settlement or compromise of any such action. The indemnified party may retain its own counsel at its own
expense, subject to the indemnifying party's rights above.

14. LIMITATION OF LIABILITY
14.1 EXCEPT AS SPECIFICALLY PROVLDE D TN THIS AGREEMENT, KRONOS AND ITS
SUPPLIERS WILL NOT BE LIABLE FOR ANY DAMAGES OR INJURIES CAUSED BY THE USE OF
THE SERVICES OR BY ANY ERRORS, DELAYS, INTERRUPTIONS IN TRANSMISSION, OR
FAILURES OF THE SERVICES.
14.2 EXCEPT FOR KRONOS' INDEMNIFICATION OBLIGATIONS SET FORTH IN SECTION 13
ABOVE, T HE TOTAL AGGREGATE LIABILITY OF KRONOS OR KRONOS ' SUPPLIERS TO
CUSTOMER AND/OR ANY TH[RD PARTY IN CONNECTION WITH THE AGREEMENT SHALL BE
LIMlTED TO DIRECT DAMAGES PROVEN BY CUSTOMER, SUCH DIRECT DAMAGES NOT TO
EXCEED AN AMOUNT EQUAL TO THE TOTAL NET PAYi'vlENTS RECEIVED BY KRONOS FOR
THE SERVICES IN THE TWELVE ( 12) MONTH PERIOD IMMEDIATELY PRECEDING THE DATE
IN WHICH SUCH CLAIM ARISES.
14.3 EXCEPT FOR KRONOS' INDEMNIFICATION OBLIGATIONS SET FORTH IN SECTI ON 13
ABOVE, IN NO EVENT SHALL KRONOS OR KRONOS ' SUPPLIERS, THEIR RESPECTIVE
AFFILIATES, SERVICE PROVIDERS, OR AGENTS BE LIABLE TO CUSTOMER OR ANY THlRD
PARTY FOR ANY INC IDENTAL, SPECIAL, PUNITIVE, CONSEQUENTIAL OR OTHER INDIRECT
DAMAGES OR FOR ANY LOST OR IMPUTED PROFITS OR REVENUES, LOST DATA OR COST OF
PROCUREMENT OF SUBSTITUTE SERVICES RESULTING FROM DELAYS, NONDELIVERJES,
MJSDELIVERIES OR SERVICES INTERRUPTION, HOWEVER CAUSED, ARISING FROM OR
RELATED TO THE SERVICES OR THE AGREEMENT, REGARDLESS OF THE LEG AL THEORY
UNDER WHI CH SUCH LIABILITY IS ASSERTED, WHETH ER BREACH OF WARRANTY,
ll\lDEMNIFICATION, NEGLIGENCE, STRICT LI ABILITY OR OTHERWISE, AND WHETHER
LI AB ILITY IS ASSERTED IN CONTRACT, TORT OR OTHERWISE, AND REGARDLESS OF
WHETHER KRONOS OR SUPPLIER HAS BEEN ADVISED OF THE POSSIBILITY OF ANY SUCH
LI AB ILITY, LOSS OR DAMAGE.


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14.4 EXCEPT WITH RESPECT TO LIABJLlTY ARTSING FROM KRONOS' GROSS NEGLIGENCE
OR WILLFUL l\lfISCONDUCT, KRONOS DTSCLAJMS ANY AND ALL LIABILITY, INCLU DI NG
WITHOUT LIMlTATION LIABTLITY RELATED TO A BREACH OF DATA SECURJTY AND
CO NFIDENTI A LITY OBLIGATIONS, RES ULTING FROM ANY EXTERNALLY INTRODUCE D
HARMFUL PROGRAM (INCLUDING WITHOUT LIMlTATION VIRUSES, TROJAN HORSES, AND
WORMS), CUSTOMER'S CONTENT OR APPLICATIONS, THIRD PARTY UNAUTHORJZED
ACCESS OF EQUIPMENT, SAAS APPLICATIONS OR SYSTEMS, OR MACHJNE ERROR.

15. CONFIDENTIAL INFORMATION
.IS. I Each Pa11y shall protect the Confidential Information of the othe r Party with at least the same degree of
care and confidentiality, but not less than a reasonable standard of care, which s uch Party utilizes for its own
information of similar characte r that it does not wish disclosed to the public . Neither Party shall disclose to
third parties the other Party's Confidential Information, o r use it for any purpose not explicitly a uthorized
herein, without the prior written consent of the other Pa rty. The obligat io n of con fidentiality shall survive
for five (5) years after the re turn of suc h Confidential Information to the disclosing party or five (5) years
afte r the expiration or termination o f the Agreement, whichever is later, as applicable. Notwithstanding
anything herein to the contrary, each party acknowledges and agrees that all trade secrets shall be safeguarded
by a receiv ing party as required by this Agreement for so long as s uch informatio n rema ins a trade secret
pursuant to applicable law.
 15.2 Notwithstanding the foregoing, a party may disc lose Confidential Informatio n to the extent required:
(a) to any s ubsidiary or affiliate of such Party, or (b) to any consultants, contractors , and counsel who have a
need to know in connection with the Agreement and have executed a non -disclos ure agreement with
obligations at least as stringe nt as this Sectio n 15, o r (c) by law, or by a court or governme ntal agency, or if
necessary in any proceed ing to establish rights or obligations under the Agreement; provided, the receiv ing
party shall, unl ess legally pro hibited, provide the disclos ing party with reasonable prior written notice
sufficient to permit the disclos ing party an opportunity to contest suc h disclosure. Tf a party commits, or
threatens to commit, a breach of this Section I 5, the other party shall have the right to seek injunctive relief
from a court of competent jurisdiction.
15.3 This Agreeme nt imposes no obligation upon either Party with respect to the othe r Party's Con fid ential
Information which the receiving Party can establish: (a) is or becomes generally known through no breach of
the Agreement by the receiving party, or (b) is already known or is inde pendently developed by the receiving
party without use ofor reference to the Confidential lnfonnation.

16. EXPORT
Customer understands that any export of the Equipment may require a n expo1t license and Customer assumes
full responsibility for obtaining such license. Customer must obtain Kronos ' prior written consent before
exporting the Equipme nt.

17. GENERAL
17.1 This Agreement shall be governed by and construed in accordance with the laws of the state, province
and country in which Kronos is incorporated without regard to any conflict of law provisions. The parties
waive the application o f the United Nations Commissio n o n International Tracie Law and United Nations
Convention on Contracts for the Inte rnational Sale o f Goods as to the inte rpretatio n o r e nforce me nt o f the
Agreement and waive a nd "opt out" of the Uni form Computer Informatio n Transactio ns Act (UCITA), or
suc h other simila r law.
17.2 The invalidity o r illegality of any provisio n of th e Agreement shall not affect the validity of any other
provision. The parties inte nd for the remaining unaffected provisions to remain in full force and effect.
17.3 Custo mer shall not assign the Agreeme nt or the rights to use the Services without the prio r written
consent of Kronos and a ny purported assig nment, without s uc h conse nt, shall be void.
17.4 Neither Party shall be responsible for a ny fa ilure to perform o r delay in pe rforming any o f its obligations
under this Agreement (other tha n a failure to comply with payment obligations) where a nd to the extent th at
suc h failure or delay resu lts from a n unforeseeable eve nt beyond a party ' s reasonable control, including but
not limited to, acts o f war; acts o f nature; earthquake; fl ood; e mbargo; riot; sabotage; labor short age o r
dispute; c ha nges in government codes, ord inances, laws, rules, regulations or restric tions; failure of the
Inte rnet; terrori st acts; failure of data, products or services contro lled by a ny third party, inc luding the
providers of communi cat ions or netwo rk services; utility power failure; material sho rtages or unavailability
or othe r delay in delive ry not resulting from the responsible party's failure to timely place o rders therefor, or


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lack of or delay in transportation (each a "Force Majeure Event").
17.5 All notices given under the Agreement shall be in writing and sent postage pre-paid, ifto Kronos, to the
Kronos address on the Order Form, or ifto Customer, to the billing address on the Order Form.
17 .6 No action, regardless of form , may be brought by either party more than two (2) years after the cause
of action has arisen.
17.7 The section headings herein are provided for convenience only and have no substantive effect on the
construction of the Agreement.
17.8 The pat1ies agree that if the Agreement is accepted by the parties and that acceptance is delivered via
fax or electronica lly delivered via email or the internet it shal l constitute a valid and enforceable agreement.
17.9 This Agreement and any information expressly incorporated by reference herein, together with the
applicable Order Form, constitute the entire agreement between the parties for the Services described herein
and supersede a ll prior or contemporaneous representations, negotiations, or other communications between
the parties relating to the subject matter of this Agreement. Thi s Agreement may be amended only in writing
signed by authorized representatives of both parties. Customer understands and acknowledges that while
Kronos may disclose to customers certain confidential information regarding general Service or product
development direction, potential future Services, products or product enhancements under consideration,
Customer is not entitled to any Services, products or product enhancements other than those contained on the
Order Form . Customer has not relied on the availability of any future version of the Services (including Saas
Applications or equipment) identified on an Order Form, nor any other future product in executing the
Agreement.

CUSTOivIER AGREES TO THESE TERMS AND CONDITlONS FOR ALL ORDER FORMS FOR THE
SERVICES. THE INDIVIDUAL ACCEPTfNG THESE TERMS AND CONDITIONS ON BEHALF OF
CUSTOMER REPRESENTS THAT HE/SHE HAS THE AUTHORITY TO CONTRACTUALLY BIND
CUSTOMER.

 Customer
 AEGIS SENIOR COMMUN ITIES, LLC




 Kronos Incorvorated



 Dated:



 Bv:

 Name:


 Title:




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                                                   EXHIBIT A

                                  SERVICE LEVEL AGREEMENT (SLA)

Senice Level Agreement: The Services, in a production environment, are provided with the service levels
described in this Exhibit A. SLAs are only applicable to production environments. SLAs will be avai lable
upon Customer' s signature ofKronos' Go Live Acceptance Form for Customer's production environment.

99. 75% Application Availability

Actual Application Availability % = (Jvfonthly Minutes (MM) minus Total Minutes Not Avai lable (TM))
multiplied by 100) and divided by Monthly Minutes (l\lIM), but not including Excluded Events

Service Credit Calculation: An Outage will be deemed to commence when the Applications are unavailable
to Customer in Customer's production environment hosted by Kronos and end when Kronos has restored
availability of the Applications. Fai lure to meet the 99.75% Application Availability SLA , other than for
reasons due to an Excluded Event, will entitle Customer to a credit as follows:

    Actua l Application Availability%          Service Credit to be applied to Customer's
    'as rneasu.-ed in a calendar month)        month Iv invoice for the affected month
    <99.75% to 98.75%                                              10%

    <98.75% to 98.25%                                                15%

    <98.25% to 97.75%                                                25%
    <97.75 to 96 .75%                                                35%
    <96.75                                                           50%

"Outage" means.the accumulated time, measured in minutes, during which Customer is unable to access the
Applications for reasons other than an Excluded Event.

"Excluded Event" means any event that results in an Outage and is caused by (a) the acts or omissions of
Customer, its employees, customers, contractors or agents; (b) the fai lure or malfunction of equipment,
applications or systems not owned or controlled by Kronos, including without limitation Customer Content,
failures or malfunctions resulting from circuits provided by Customer, any inconsistencies or changes in
Customer' s source environment, including either intentional or accidental connections or disconnections to
the environment; (c) Force Majeure events; (cl) expected downtime during the Maintenance Periods described
below; (e) any suspension of the Services in accordance with the terms of the Agreement to which this Exhibit
A is attached; (f) the unavailability of required Customer personnel, including as a result of fai lu re to provide
Kronos with accurate, current contact information ; or (g) using an Application in a manner inconsistent with
the Documentation for such App lication.

"Maintenance Period" means scheduled maintenance periods established by Kronos to maintain and update
the Services, when downtime may be necessary, as further described below. The Maintenance Period is used
for purposes of the Service Credit Calcu lation ; Kronos continuously maintains the production environment
on a 24x7 basis to reduce disruptions.

    Customer Specific Maintenance Period

    l.   Customer wi ll choose one of the following time zones for their Maintenance Period :
             a. United States Eastern Standard Time,
             b. GMT/ UTC,
             c. Central European Time (CET) or
             d. Australi an Eastern Standard Time (AEST).




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    2.   Customer will choose one of the following days of the week for their Maintenance Pe riod:
         Saturday, Sunday, Wednesday or Thursday.

    3.   Kronos will use up to s ix (6) ho urs in any two (2) consecutive rolling months (specifi cally:
         January and February; March and April; May and June; July and A ugust; September and October;
         November and December) to perform Customer Specific Ma intena nce, excluding a ny c ustomer
         requested Application updates. Downtime in excess o f these six (6) hours will be d eemed to be an
         Outage.

    4.   Custo mer Specific Maintenance will occur between 12am-6am during Customer's se lected time
         zone.

    5.   Exc luding any customer requested Application updates, Kronos will provide noti ce for planned
         downtime via an e mail no tice to the primary Custome r contact at least seven (7) days in advance
         o f any known downtime so planning can be fac ilitated by Customer.

    6.   Custo mer Specific Maintenance Windows also include additional mainte na nce wi ndows mutually
         agreed upo n by Customer and Kronos.

    7.   In absence of instruc tio n from Customer, Kronos will by default perform Maintenance in the time
         zone where the Data Center is located.

    Non-Customer Specific Maintenance Period

         Kronos anticipates no n-Customer Specific Maintenance to be performed with no or little (less than
         three hours per month) Customer downtime. If for any reason non-Customer Specific
         Maintenance requires downtime, Kronos will provide as muc h notice as reasonably possible of the
         expected window in which this will occur. Downtime in excess of three (3) hours per month for
         Non-C ustomer Spec ific Maintenance will be deemed to be an Outage.

"Monthly Minutes (MM)" means the total time, measured in minutes, of a calendar month comme ncing a t
12 :00 a m of the first day of such calendar month and ending· at 11 :59 pm of the last day o f such calendar
month.

'Total Minutes Not Available (TM)" means the total number of minutes during the calendar month that the
Services are unavailable as the result of an Outage.

Reporting and C laims Process: Service Credits will not be provided if: (a) Custo mer is in breach or default
unde r the Agreement at the time the Outage occurred; or (b) the Outage results from a n Exc luded Event.

Kronos will provide Custo mer with an Applicatio n Avai lab ility report on a monthly basis for each prior
cale ndar month. Within s ixty (60) days of rece ipt of such report, Custo mer must request the app licable
Service Cred it by written notice to Kronos. Customer waives a ny right to Service Credits not req uested
within this time period. All performance calculations and applicable Se rvice Credits are based on Kronos
records and data unless Customer can provi de Kronos wi th clear and convinci ng evide nce to the co ntrary.

The Service Level Agreements in this Exhibit, a nd the related Serv ice Credits, apply on a per production
environme nt basis. For the avo idance of do ubt, Outages in one production env ironment may not be added
to Outages in any othe r production environme nt fo r purposes o f calcula ting Ser vice Credits.

Customer acknowledges that Kronos manages its network traffic in part on the bas is of Customer's utilization
of the Services a nd that c hanges in suc h utilization may impact Kronos' ab ility to manage network traffic.
The refore, notwithstanding anything else to the contrary, if Custo me r s ignificantly c hanges its utili zation of
the Services tha n what is contracted with Kronos a nd suc h change creates a material a nd adverse impact o n
the traffic balance of the Kronos ne twork, as reasonab ly determined by Kro nos, the parties agree to co-
operate, in good faith, to resolve the issue.


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                    EXHIBIT B
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 5
   Attorneys for Plaintiff,
 6 on behalf of the putative Class

 7                                 UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                                Case No. ____________
 9   DANIELA MELGOZA, on behalf of
     herself and all others similarly situated, CLASS AND COLLECTIVE ACTION
10                                              COMPLAINT
                     Plaintiff,                  1. Violations of the Fair Labor Standards Act (29
11                                                  U.S.C. §§ 201 et seq.);
             vs.                                 2. Failure to Pay for All Hours Worked (Cal. Lab.
12
     AEGIS SENIOR COMMUNITIES LLC                   Code § 204)
13   d/b/a AEGIS LIVING,                         3. Failure to Pay Minimum Wage for All Hours
                                                    Worked (Cal. Lab. Code §§ 204, 1194, 1197, and
14                   Defendant.                     1198);
                                                 4. Failure to Pay Overtime Wages (Cal. Lab. Code
15                                                  § 510);
                                                 5. Failure to Authorize and Permit and/or Make
16
                                                    Available Meal and Rest Periods (Cal. Lab.
17                                                  Code §§ 226.7 and 512);
                                                 6. Failure to Provide Timely and Accurate
18                                                  Itemized Wage Statements (Cal. Lab. Code §
                                                    226);
19                                               7. Waiting Time Penalties (Cal. Lab. Code §§ 201-
20                                                  203)
                                                 8. Unlawful Business Practices (Cal. Bus. & Prof.
21                                                  Code §§ 17200 et seq.);

22                                                  DEMAND FOR JURY TRIAL
23

24

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 1                                                INTRODUCTION
 2          1.      Plaintiff Daniela Melgoza (“Plaintiff”), individually and on behalf of all other similarly
 3 situated individuals, brings this class and collective action against Aegis Senior Communities LLC

 4 d/b/a Aegis Living (“Defendant”) for violations of the Fair Labor Standards Act, 29 U.S.C. §§ 201, et

 5 seq. (“FLSA”) and California wage and hour laws.

 6          2.      This action stems from Defendant’s policies and practices of: (1) failing to properly
 7 compensate Plaintiff and putative Class and Collective members for all hours worked; (2) failing to

 8 pay minimum wage for all hours worked; (3) failing to pay all overtime wages owed; (4) failing to

 9 make available, authorize, and/or permit Plaintiff and putative Class members to take timely and

10 compliant meal and/or rest periods to which they are entitled by law and failing to make premium

11 payments for those non-compliant meal and rest periods; (5) failing to provide accurate, itemized wage

12 statements, and (6) failing to timely pay all wages due upon separation from employment.

13          3.      Plaintiff seeks damages, penalties, and interest to the full extent permitted by the FLSA,
14 California Labor Code, and Industrial Welfare Commission (“IWC”) Wage Orders, as well as other

15 relief requested herein.

16                         SUBJECT MATTER JURISDICTION AND VENUE
17          4.      The FLSA authorizes private rights of action to recover damages for violation of the
18 FLSA’s wage and hour provisions. 29 U.S.C. § 216(b). This Court has original federal question

19 jurisdiction under 28 U.S.C. § 1331. This Court has supplemental jurisdiction over the California state

20 law claims under 28 U.S.C. § 1367(a) because they are so related to this action that they form part of

21 the same case or controversy.

22          5.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b). Plaintiff was
23 employed in this District and the claims asserted arose in this District. At all material times Defendant

24 has been actively conducting business in the State of California and within the geographic area

25 encompassing the Northern District of the State of California.

26                                                     PARTIES
27          6.      Plaintiff Daniela Melgoza is an individual over the age of eighteen, and at all times
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 1 relevant to this Complaint was a resident of the State of California, County of Santa Cruz. Plaintiff

 2 was employed as a caregiver by Defendant in Aptos, California from approximately November 2021

 3 until January 2022.

 4          7.      The Collective members are people who are or who have been employed by Defendant
 5 as hourly, non-exempt employees in the United States at any time within the three years preceding the

 6 filing of this Complaint.

 7          8.      The Class members are all people who are or who have been employed by Defendant
 8 as hourly, non-exempt employees in California within the four years preceding the filing of this

 9 Complaint.

10          9.      Plaintiff is informed, believes, and thereon alleges that Defendant Aegis Senior
11 Communities LLC, doing business as Aegis Living, is a Washington corporation with its principal

12 place of business located in Bellevue, WA. Defendant is registered to do business in the State of

13 California and does business in the State of California. Defendant may be served with process by

14 serving its registered agent, Corporation Service Company, 2710 Gateway Oaks Drive, Suite 150N,

15 Sacramento, California 95833.

16          10.     Upon information and belief, Defendant is part of the residential care facilities industry.
17 Defendant operates assisted living and memory care facilities that provide care to elder residents

18 suffering from physical and cognitive impairments. Defendant operates facilities throughout the

19 United States, including in the State of California. Defendant employs hundreds of hourly, non-exempt

20 workers similarly situated to Plaintiff throughout the United States, including in the State of California.

21          11.     Plaintiff is informed, believes, and thereon alleges that Defendant exercises control
22 over Plaintiff and putative Class and Collective members with respect to their employment.

23          12.     Plaintiff and Class and Collective members were and are employees of Defendant
24 within the meaning of 29 U.S.C. § 203(e).

25          13.     At all material times, Defendant has been an enterprise in commerce or in the
26 production of goods for commerce within the meaning of section 3(s)(1) of the FLSA because
27 Defendant has had and continues to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).

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 1          14.     Plaintiff is informed, believes, and thereon alleges that Defendant has had, and
 2 continues to have, an annual gross business volume of not less than $500,000, thereby exceeding the

 3 statutory standard. 29 U.S.C. § 203(s)(1)(A)(ii).

 4          15.     In addition to Plaintiff, Defendant has employed numerous other employees who, like
 5 Plaintiff, are hourly, non-exempt employees engaged in interstate commerce. Further, Defendant is

 6 engaged in interstate commerce since it orders supplies across state lines, conducts business deals with

 7 merchants across state lines, and processes patient credit cards with banks in other states.

 8          16.     At all material times, Plaintiff and Collective and Class members were employees who
 9 engaged in commerce or in the production of goods for commerce as required by 29 U.S.C. § 207.

10          17.     At all material times, Defendant has done business under the laws of California, has
11 places of business in the State of California, including in this judicial district, and has employed

12 putative Class members in this judicial district. Defendant is a “person” as defined in California Labor

13 Code § 18 and California Business and Professions Code § 17201. Defendant is also an “employer”

14 as that term is used in the FLSA, California Labor Code, and the IWC Wage Orders.

15                                      FACTUAL ALLEGATIONS
16          18.     Upon information and belief, Defendant Aegis Senior Communities LLC, doing
17 business as Aegis Living is part of the residential care facilities industry. Defendant owns and operates

18 assisted living and memory care facilities across the United States, including in California. Defendant

19 provides a continuum of care to elder residents suffering from physical and cognitive impairments.

20          19.     Plaintiff worked for Defendant as a caregiver in Aptos, California from approximately
21 November 2021 until January 2022. Her duties included, but were not limited to, assisting residents

22 with activities of daily living; aiding residents in eating, dressing, and washing; providing other care

23 as needed; and reporting resident status. Excluding time worked off the clock, Ms. Melgoza typically

24 worked eight hours per shift and five shifts per week, for a total of 40 hours per week, earning $17.00

25 per hour.

26          20.     Like Ms. Melgoza, the putative Class and Collective members are current and former
27 non-exempt employees of Defendant throughout the United States, including in the State of California.

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 1 As a result of such uncompensated time worked off the clock, Plaintiff and putative Class and

 2 Collective members worked over eight hours in a day and/or over 40 hours in a week without receiving

 3 pay at the appropriate overtime rate for such work.

 4          21.      Plaintiff is informed, believes, and thereon alleges that Defendant employs and has
 5 employed hundreds of non-managerial employees throughout the United States, including in the State

 6 of California and uniformly classifies them as hourly, non-exempt employees under the FLSA and

 7 California law.

 8          22.      Plaintiff is informed, believes, and based thereon, alleges that putative Class and
 9 Collective members are employed by Defendant in a similar manner throughout the United States,

10 including in this judicial district, and perform work materially similar to Plaintiff.

11         23.     Non-exempt, hourly workers employed by Defendant have a variety of responsibilities.
12   These responsibilities include: cleaning resident rooms, communicating with doctors, administering
13   medicine, recording medical history and symptoms, performing diagnostic tests, checking residents’
14   vital signs, feeding and washing residents, documenting information, and assisting with medical
15   procedures, among other tasks.
16         24.     Defendant requires Plaintiff and putative Class and Collective members to perform
17   work-related activities for Defendant’s benefit without adequate compensation. In particular,
18   Defendant required Plaintiff and putative Class members to work 40-hour weeks while vastly
19   underpaying them for the number of hours worked. For example, throughout Plaintiff’s tenure
20   working for Defendant, Plaintiff received bi-weekly payments of $465.80 from Defendant, despite
21   working 40 hours per week at a pay-rate of $17.00 per hour. These wage payments calculate to
22   roughly $5.82 per hour – well below the requirements of the FLSA and State of California. Putative
23   Class and Collective members suffer similar underpayments from Defendant. Upon Plaintiff and
24   putative Class and Collective members’ complaints to Defendant regarding the severe
25   underpayments, Defendant blamed the underpayments on a breach in the Kronos payroll system that
26   Defendant used to record hours and wages. Despite it being Defendant’s responsibility, not the
27   responsibility of Kronos, to make sure Plaintiff and putative Class and Collective members are
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 1   properly compensated, Defendant has failed to timely and accurately issue Plaintiff and putative Class
 2   and Collective members the correct payment for the hours of work that they have labored for the
 3   benefit of Defendant.
 4         25.     As a result of these policies and/or practices, Plaintiff and putative Class and Collective
 5   members are denied compensation for all hours worked, including minimum wages and overtime,
 6   which they are lawfully owed resulting from the additional off-the-clock work in excess of eight (8)
 7   hours per day and forty (40) hours per week.
 8         26.     Plaintiff is informed, believes, and thereon alleges that Defendant utilizes the same or
 9   substantially similar timekeeping and payroll mechanisms throughout all its facilities in the United
10   States, including in the State of California.
11         27.     Plaintiff and putative Class members are routinely denied rest breaks because Defendant
12   does not authorize permit, and/or make available timely rest breaks periods. Specifically, pursuant to
13   uniform, companywide policies and practices, Defendant requires Plaintiff and putative Class
14   members to remain on duty throughout their scheduled shifts, including during rest break periods.
15   Additionally, Plaintiff and putative Class members are either too busy with work during the day to
16   have time to take bona fide rest breaks or get called back to work mid-break to assist with a resident.
17   Plaintiff, for example, was unable to take a compliant rest break an average of four times per week.
18         28.     Despite these recurring violations, Defendant does not provide Plaintiff and putative
19   Class members premium pay for missed rest periods.
20         29.     Plaintiff is informed, believes, and thereon alleges that the same rest break polices are
21   used across all Defendant’s facilities throughout California.
22         30.     Defendant also does not permit Plaintiff and putative Class and Collective members to
23   take compliant meal break periods. Specifically, Plaintiff and putative Class and Collective members
24   are routinely denied timely meal breaks because Defendant does not make available timely meal break
25   periods. Plaintiff and putative Class and Collective members are too busy with work during the day
26   to have time to take bona fide meal breaks before the fifth hour of work
27         31.     Despite these recurring violations, Defendant does not provide Plaintiff and putative
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 1   Class members with premium pay for missed or untimely meal breaks.
 2         32.     Plaintiff is informed, believes, and thereon alleges that the same meal break policies are
 3   used across all Defendant’s facilities.
 4         33.     Defendant’s common course of wage-and-hour abuse includes routinely failing to
 5   maintain true and accurate records of the hours worked by Collective and putative Class members.
 6         34.     Defendant fails to provide Plaintiff and putative Class members with accurate and
 7   itemized wage statements as required by the State of California. Defendant has provided Plaintiff and
 8   putative Class members with statements that show only the total amount paid on each paycheck. The
 9   statements do not indicate the rate of pay or the number of hours that Plaintiff and putative Class
10   members worked.
11         35.     Defendant’s failure to compensate employees for all hours worked, including missed
12   rest and meal breaks, further results in a failure to provide putative Class members, including Plaintiff,
13   accurate itemized wage statements. The wage statements are inaccurate because they do not include
14   off-the-clock work and premium pay for missed or untimely meal breaks. Moreover, as discussed
15   above, Defendant issues wages statements for wage payments that are vastly less than what is owed
16   to Plaintiff and putative Class members.
17         36.     Further, Defendant does not provide putative Class members, including Plaintiff, whose
18   employment has ended, with full payment of all wages owed at the end of their employment. As these
19   workers are owed for Defendant’s vast underpayments, premium pay, and reimbursements for all
20   business expenses when their employment ends, and these amounts remain unpaid under Defendant’s
21   policies and practices, Defendant fails to pay all wages due upon termination. As a consequence,
22   Defendant is subject to waiting time penalties.
23          37.     Defendant has employed hundreds of people similarly situated to Plaintiff during the
24 four-year period prior to the filing of this Complaint.

25          38.     Defendant’s method of paying Plaintiff and putative Class members was willful and
26 was not based on a good faith and reasonable belief that their conduct complied with California law.
27          39.     Defendant’s conduct was willful, carried out in bad faith, and caused significant
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 1 damages to non-exempt hourly employees in an amount to be determined at trial.

 2                             COLLECTIVE ALLEGATIONS UNDER THE FLSA
 3           40.     Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
 4 herein.

 5           41.     Plaintiff brings this Complaint as a collective action pursuant to 29 U.S.C. § 216(b) on
 6 behalf of the following collective of individuals:
           All current and former hourly, non-exempt employees employed by Defendant
 7         Aegis Senior Communities LLC d/b/a Aegis Living in the United States any time
           starting three years prior to the filing of this Complaint until resolution of this
 8         action.
 9           42.     Defendant has not compensated these employees for all hours worked, including
10 minimum wage and overtime compensation for all hours worked over 40 hours per week, liquidated

11 damages, and attorneys’ fees and costs under the FLSA.

12           43.     Plaintiff’s claims for violations of the FLSA may be brought and maintained as an “opt-
13 in” collective action pursuant to Section 216(b) of the FLSA because Plaintiff’s FLSA claims are

14 similar to the claims of the Collective members.

15           44.     Plaintiff is informed, believes, and thereon alleges that Collective members have been
16 denied compensation, including overtime compensation for time worked “off-the-clock,” and would

17 therefore likely join this collective action if provided a notice of their rights to do.

18           45.     Plaintiff and the Collective members are similarly situated. Collective Members have
19 substantially similar job duties and requirements. Like Plaintiff, Defendant subjected Collective

20 members to Defendant’s common practices, policies, or plans that requires them to perform work

21 without compensation in clear violation of the FLSA. Collective Members work, or have worked, for

22 Defendant but were not paid overtime at the rate of one and one-half times their regular hourly rate

23 when those hours exceeded forty per workweek. Collective Members also performed compensable

24 work while “off-the-clock” which, when included with their recorded hours, results in additional

25 overtime hours worked that were not compensated at the rate of one and one-half times their regular

26 hourly in violation of the FLSA.
27           46.     Although Defendant permitted and/or required Collective members to work in excess
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 1 of forty hours per workweek, Defendant has denied them full compensation for their hours worked

 2 over forty as a result of meal breaks that were interrupted due to work demands and “off-the-clock”

 3 work.

 4          47.     Collective members regularly work or have worked in excess of forty hours during a
 5 workweek.

 6          48.     Collective members are not exempt from receiving overtime compensation under the
 7 FLSA.

 8          49.     Defendant’s failure to pay overtime compensation as required by the FLSA resulted
 9 from generally applicable policies and practices and did not depend on the personal circumstances of

10 FLSA Collective members.

11          50.     This action may be properly maintained as a collective action on behalf of the defined
12 Collective because, throughout the relevant time period:

13                  a. Defendant maintained common scheduling systems and policies with respect to
14                     Plaintiff and Collective members, controlled the scheduling systems and policies
15                     implemented throughout their facilities and retained authority to review and revise
16                     or approve the schedules assigned to Plaintiff and Collective members;
17                  b. Defendant maintained common timekeeping systems and policies with respect to
18                     Plaintiff and Collective members; and
19                  c. Defendant maintained common payroll systems and policies with respect to
20                     Plaintiff and Collective members, controlled the payroll systems and policies
21                     applied to Plaintiff and Collective members, and set the pay rates assigned to
22                     Plaintiff and Collective members.
23          51.     Plaintiff and Collective members’ claims arise from a common nucleus of operative
24 facts; namely, the continued and willful failure of Defendant to comply with its obligation to legally

25 compensate its employees. Liability is based on a systematic course of wrongful conduct by Defendant

26 that caused harm to all Collective members. Defendant had a plan, policy or practice that resulted in
27 inaccurately recording Plaintiff and Collective members’ workhours, causing vast underpayments for

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 1 the amount of hours Plaintiff and Collective members worked. These underpayments caused Plaintiff

 2 and Collective members to receive wages below the federal minimum wage. Further, Defendant had

 3 a plan, policy or practice of not recording or paying Plaintiff and Collective members for interrupted,

 4 interruptible, or missed meal and rest breaks. These unpaid hours are typically worked in excess of 40

 5 hours per week, and therefore the failure to track these hours results in a violation of the FLSA.

 6          52.     The similarly situated Collective members are known to Defendant, are readily
 7 identifiable, and may be located through Defendant’s records. These similarly situated employees

 8 may readily be notified of this action, and allowed to “opt-in” to this case pursuant to 29 U.S.C. §

 9 216(b) for the purpose of collectively adjudicating their claims for unpaid wages, liquidated damages

10 (or, alternatively, interest), and attorneys’ fees and costs under the FLSA.

11

12                                 RULE 23 CLASS ACTION ALLEGATIONS
13          53.     Plaintiff brings causes of action as a class action on behalf of herself and all others
14 similarly situated pursuant to Federal Rule of Civil Procedure 23(a) and (b)(3). The California Class

15 that Plaintiff seeks to represent is defined as follows:

16          All current and former hourly, non-exempt employees employed by Defendant
            Aegis Senior Communities LLC d/b/a Aegis Living in California any time starting
17          four years prior to the filing of this Complaint until resolution of this action.
18          54.     This action has been brought and may properly be maintained as a class action because
19 there is a well-defined community of interest in the litigation and the proposed class is easily

20 ascertainable.

21          55.     Numerosity: The potential members of the class are so numerous that joinder of all the
22 members of the Class is impracticable. Plaintiff is informed and believes that the number of California

23 Class members exceeds 40. This volume makes bringing the claims of each individual member of the

24 class before this Court impracticable. Likewise, joining each individual member of the California

25 Class as a plaintiff in this action is impracticable. Furthermore, the identities of the California Class

26 will be determined from Defendant’s records, as will the compensation paid to each of them. As such,
27 a class action is a reasonable and practical means of resolving these claims. To require individual

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 1 actions would prejudice the California Class and Defendant.

 2           56.     Commonality: There are questions of law and fact common to Plaintiff and the
 3 California Class that predominate over any questions affecting only individual members of the Class.

 4 These common questions of law and fact include, but are not limited to:

 5           a.            Whether Defendant fails to pay putative Class members for all hours worked,
 6 including at minimum wage and as overtime compensation, in violation of the Labor Code and Wage

 7 Orders;

 8           b.            Whether Defendant fails to authorize and permit, make available, and/or provide
 9 putative Class members with timely meal and/or rest periods to which they are entitled in violation of

10 the Labor Code and Wage Orders;

11           c.            Whether Defendant fails to provide putative Class members with timely, accurate
12 itemized wage statements in violation of the Labor Code and Wage Orders;

13           d.            Whether Defendant fails to provide putative Class members with all owed wages
14 upon separation from employment in violation of the Labor Code and Wage Orders;

15           e.            Whether Defendant violates Business and Professions Code §§ 17200 et seq., by:
16                   (a)     failing to pay putative Class members for all hours worked, including at
17                           minimum wage and as overtime compensation;
18                   (b)     failing to authorize and permit, make available, and/or provide Class members
19                           with timely meal and/or rest periods to which they are entitled;
20                   (c)     failing to provide putative Class members with timely, accurate itemized wage
21                           statements; and
22                   (d)     failing to pay putative Class members for all wages owed upon separation of
23                           employment;
24           f.            The proper formula for calculating restitution, damages and penalties owed to
25 Plaintiff and the putative Class as alleged herein.

26           57.     Typicality:    Plaintiff’s claims are typical of the claims of the California Class.
27 Defendant’s common course of conduct in violation of law as alleged herein caused Plaintiff and

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 1 putative Class members to sustain the same or similar injuries and damages. Plaintiff’s claims are

 2 thereby representative of and co-extensive with the claims of the putative Class.

 3          58.     Adequacy of Representation: Plaintiff seeks relief for state law violations perpetrated
 4 by Defendant. In that sense, Plaintiff does not have any conflicts of interest with other putative Class

 5 members and will prosecute the case vigorously on behalf of the putative Class. Counsel representing

 6 Plaintiff is competent and experienced in litigating complex cases and large class actions, including

 7 wage and hour cases. Plaintiff will fairly and adequately represent and protect the interests of the

 8 putative Class members.

 9          59.     Superiority of Class Action: A class action is superior to other available means for the
10 fair and efficient adjudication of this controversy. Individual joinder of all proposed Class members is

11 not practicable, and questions of law and fact common to the Class predominate over any questions

12 affecting only individual members of the Class. Each proposed Class member has been damaged and

13 is entitled to recovery by reason of Defendant’s illegal policies and/or practices. Class action treatment

14 will allow those similarly situated persons to litigate their claims in the manner that is most efficient

15 and economical for the parties and the judicial system.

16          60.     In the alternative, the putative Class may be certified because the prosecution of
17 separate actions by the individual members of the putative Class would create a risk of inconsistent or

18 varying adjudication with respect to individual members of the putative Class which would establish

19 incompatible standards of conduct for Defendant.

20          61.     If each individual putative Class member were required to file an individual lawsuit,
21 Defendant would necessarily gain an unconscionable advantage because Defendant would be able to

22 exploit and overwhelm the limited resources of each member of the putative Class with Defendant’s

23 vastly superior financial legal resources.

24          62.     Requiring each individual putative Class member to pursue an individual remedy
25 would also discourage the assertion of lawful claims by the putative Class members who would be

26 disinclined to pursue these claims against Defendant because of an appreciable and justifiable fear of
27 retaliation and permanent damage to their lives, careers and well-being.

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                                           FIRST CAUSE OF ACTION
 1                                  Violation of the Fair Labor Standards Act
 2                                     Pursuant to 29 U.S.C. §§ 201, et seq.
                                           (On Behalf of the Collective)
 3
               63.     Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
 4
     herein.
 5
               64.     The FLSA requires that covered employees receive compensation for all hours worked
 6
     and overtime compensation of not less than one and one-half times the regular rate of pay for all hours
 7
     worked in excess of forty hours in a workweek. 29 U.S.C. §§ 206(a)(1), 207(a)(1).
 8
               65.     At all times material herein, Plaintiff and the Collective are covered employees entitled
 9
     to the rights, protections, and benefits provided under the FLSA. 29 U.S.C. §§ 203(e) and 207(a).
10
               66.     Defendant is a covered employer required to comply with the FLSA’s mandates.
11
               67.     Defendant has violated the FLSA with respect to Plaintiff and the Collective, by, inter
12
     alia, failing to compensate Plaintiff and the Collective for all hours worked and, with respect to such
13
     hours, failing to pay the legally mandated overtime premium for such work and/or minimum wage.
14
     Defendant has also violated the FLSA by failing to keep required, accurate records of all hours worked
15
     by Plaintiff and the Collective. 29 U.S.C. § 211(c).
16
               68.     Plaintiff and the Collective are victims of a uniform and company-wide compensation
17
     policy that has been applied to current and former non-exempt, hourly employees of Defendant,
18
     working throughout the United States.
19
               69.     Plaintiff and the Collective are entitled to damages equal to the mandated pay,
20
     including minimum wage, straight time, and overtime premium pay within the three years preceding
21
     the filing of the complaint, plus periods of equitable tolling, because Defendant has acted willfully and
22
     knew or showed reckless disregard for whether the alleged conduct was prohibited by the FLSA.
23
               70.     Defendant has acted neither in good faith nor with reasonable grounds to believe that
24
     its actions and omissions were not a violation of the FLSA, and as a result thereof, Plaintiff and the
25
     Collective are entitled to recover an award of liquidated damages in an amount equal to the amount of
26
     unpaid overtime pay and/or prejudgment interest at the applicable rate. 29 U.S.C. § 216(b).
27
               71.     Pay, including minimum wage, straight time, and overtime compensation, has been
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 1 unlawfully withheld by Defendant from Plaintiff and the Collective as a result of Defendant’s

 2 violations of the FLSA. Accordingly, Defendant is liable for unpaid wages, together with an amount

 3 equal as liquidated damages, attorneys’ fees, and costs of this action.

 4           72.     Wherefore, Plaintiff and the Collective request relief as hereinafter provided.
 5                                     SECOND CAUSE OF ACTION
                                     Failure to Pay for All Hours Worked
 6
                                   Pursuant to California Labor Code § 204
 7                                         (On Behalf of the Class)

 8           73.     Plaintiff realleges and incorporates the foregoing paragraphs as though fully set forth

 9 herein.

10           74.     Labor Code § 200(a) defines wages as “all amounts for labor performed by employees

11 of every description, whether the amount is fixed or ascertained by the standard of time, task, piece,

12 commission basis or other method of calculation.”

13           75.     Labor Code § 204 provides that employers must compensate employees for all hours

14 worked “twice during each calendar month, on days designated in advance by the employer as the

15 regular paydays.”

16           76.     Labor Code §§ 221-223 prohibit employers from withholding and deducting wages, or

17 otherwise artificially lowering the wage scale of an employee.

18           77.     Labor Code § 1194(a) provides as follows:
             Notwithstanding any agreement to work for a lesser wage, any employee receiving less
19           than the legal minimum wage or the legal overtime compensation applicable to the
             employee is entitled to recover in a civil action the unpaid balance of the full amount
20           of this minimum wage or overtime compensation, including interest thereon,
             reasonable attorneys’ fees, and costs of suit.
21

22           78.     Labor Code § 1198 makes it unlawful for employers to employ employees under

23 conditions that violate the Wage Orders.

24           79.     IWC Wage 5-2001(2)(K) define hours worked as “the time during which an employee

25 is subject to the control of an employer and includes all the time the employee is suffered or permitted

26 to work, whether or not required to do so.”
27           80.     Defendant willfully engaged in and continues to engage in a policy and practice of not

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 1 compensating Plaintiff and putative Class members for all hours worked or spent in Defendant’s

 2 control.

 3          81.     Defendant routinely denies Plaintiff and putative Class members compensation for all
 4 hours worked. In particular, Defendant has required Plaintiff and putative Class members to work 40-

 5 hour weeks while vastly underpaying them for the number of hours worked. For example, at Plaintiff’s

 6 payrate of $17.00 per hour, her bi-weekly paycheck for working 80 hours should have added up to

 7 roughly $1,360. Instead, throughout Plaintiff’s tenure working for Defendant, Plaintiff received bi-

 8 weekly payments of $465.80 from Defendant, a figure that covers only 27.4 hours of pay. In essence,

 9 Plaintiff worked more than 52 hours per week that she did not get paid for. Putative Class members

10 suffer similar underpayments from Defendant. Upon Plaintiff and putative Class members’ complaints

11 regarding the severe underpayments, Defendant blamed the underpayments on a breach in the Kronos

12 payroll system that Defendant used to record hours and wages. Despite it being Defendant’s

13 responsibility, not the responsibility of Kronos, to make sure Plaintiff and putative Class members are

14 properly compensated, Defendant has failed to timely and accurately issue Plaintiff and putative Class

15 members the correct payment for the hours of work that they have labored for the benefit of Defendant.

16          82.     In violation of California law, Defendant knowingly and willfully refuses to perform
17 its obligations to provide Plaintiff and putative Class members with compensation for all time worked.

18 Defendant regularly fails to track the time Plaintiff and putative Class members actually worked and

19 fail to compensate them for all hours worked.

20          83.     Therefore, Defendant has committed, and continues to commit, the acts alleged herein
21 knowingly and willfully, and in conscious disregard of the Plaintiff and putative Class members’

22 rights. Plaintiff and putative Class members are thus entitled to recover nominal, actual, and

23 compensatory damages, plus interest, attorneys’ fees, expenses, and costs of suit.

24          84.     As a proximate result of the aforementioned violations, Plaintiff and putative Class
25 members have been damaged in an amount according to proof at time of trial.

26          85.     Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
27                                      THIRD CAUSE OF ACTION
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                             Failure to Pay Minimum Wage for All Hours Worked
 1                      Pursuant to the California Labor Code §§ 204, 1194, 1197 & 1198
 2                                           (On Behalf of the Class)
               86.     Plaintiff realleges and incorporates the foregoing paragraphs as though fully set forth
 3
     herein.
 4
               87.     Labor Code § 200(a) defines wages as “all amounts for labor performed by employees
 5
     of every description, whether the amount is fixed or ascertained by the standard of time, task, piece,
 6
     commission basis, or other method of calculation.”
 7
               88.     Labor Code § 204 provides that employers must compensate employees for all hours
 8
     worked “twice during each calendar month, on days designated in advance by the employer as the
 9
     regular paydays.”
10
               89.     Labor Code §§ 221-223 prohibit employers from withholding and deducting wages, or
11
     otherwise artificially lowering the wage scale of an employee.
12
               90.     Labor Code § 1194(a) provides as follows:
13
               Notwithstanding any agreement to work for a lesser wage, any employee receiving less
14             than the legal minimum wage or the legal overtime compensation applicable to the
               employee is entitled to recover in a civil action the unpaid balance of the full amount
15             of this minimum wage or overtime compensation, including interest thereon,
               reasonable attorneys’ fees, and costs of suit.
16
               91.     Labor Code § 1198 makes it unlawful for employers to employ employees under
17
     conditions that violate the Wage Orders.
18
               92.     IWC Wage Order 5-2001(2)(K) defines hours worked as “the time during which an
19
     employee is subject to the control of an employer and includes all the time the employee is suffered
20
     or permitted to work, whether or not required to do so.”
21
               93.     During the applicable statutory period, California Labor Code §§ 1182.12 and 1197,
22
     and the Minimum Wage Order were in full force and effect and required that Defendant’s hourly
23
     employees receive the minimum wage for all hours worked at the rate of eleven dollars ($11.00) per
24
     hour commencing on January 1, 2018, twelve dollars ($12.00) per hour commencing on January 1,
25
     2019, thirteen dollars ($13.00) per hour commencing on January 1, 2020, fourteen dollars ($14.00)
26
     per hour commencing January 1, 2021, and fifteen dollars ($15.00) per hour commencing January 1,
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 1 2022.

 2           94.      Defendant has maintained policies and procedures which created a working
 3 environment where Plaintiff and putative Class members are routinely compensated at a rate that is

 4 less than the statutory minimum wage.

 5           95.     Defendant routinely denies Plaintiff and putative Class members compensation for all
 6 hours worked, including minimum wage. Plaintiff and putative Class members are regularly

 7 compensated for less than the total amount of hours they actually work. For example, as explained

 8 above, during Plaintiff’s tenure working for Defendant, Plaintiff received bi-weekly payments of

 9 $465.80 from Defendant, despite working 40 hours per week at a pay-rate of $17.00 per hour. These

10 wage payments calculate to roughly $5.82 per hour – well below the State of California’s minimum

11 wage requirements. Putative Class members suffer similar underpayments from Defendant. Thus,

12 Defendant underpays Plaintiff and putative Class members by routinely refusing to compensate all

13 time worked resulting in minimum wage violations.

14           96.     In violation of California law, Defendant knowingly and willfully refuses to perform
15 their obligations to pay minimum wage to Plaintiff and putative Class members for all time worked.

16           97.     Therefore, Defendant committed, and continues to commit the acts alleged herein
17 knowingly and willfully, and in conscious disregard of Plaintiff’s and putative Class members’ rights.

18 Plaintiff and the putative Class are thus entitled to recover nominal, actual, and compensatory

19 damages, plus interest, attorneys’ fees, expenses, and costs of suit.

20           98.     As a proximate result of the aforementioned violations, Plaintiff and the putative Class
21 have been damaged in an amount according to proof at time of trial.

22           99.     Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
23                                     FOURTH CAUSE OF ACTION
                                       Failure to Pay Overtime Wages
24
                                   Pursuant to California Labor Code § 510
25                                         (On Behalf of the Class)

26           100.    Plaintiff realleges and incorporates the foregoing paragraphs as though fully set forth

27 herein.

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 1          101.    Defendant does not compensate Plaintiff and Class members with appropriate
 2 overtime, including time and a half, as required by California law.

 3          102.    Labor Code § 510 provides as follows:
 4          Eight hours of labor constitutes a day’s work. Any work in excess of eight hours in
            one workday and any work in excess of 40 hours in any one workweek and the first
 5          eight hours worked on the seventh day of work in any one workweek shall be
            compensated at the rate of no less than one and one-half times the regular rate of pay
 6          for an employee. Any work in excess of 12 hours in one day shall be compensated at
            the rate of no less than twice the regular rate of pay for an employee. In addition, any
 7          work in excess of eight hours on any seventh day of a workweek shall be compensated
            at the rate of no less than twice the regular rate of pay of an employee.
 8
            103.    The IWC Wage Order 5-2001(3)(A)(1) states:
 9
            The following overtime provisions are applicable to employees 18 years of age or over
10          and to employees 16 or 17 years of age who are not required by law to attend school
            and are not otherwise prohibited by law from engaging in the subject work. Such
11          employees shall not be employed more than eight (8) hours in any workday or more
            than 40 hours in any workweek unless the employee receives one and one-half (1 ½)
12          times such employee’s regular rate of pay for all hours worked over 40 hours in the
            workweek. Eight (8) hours of labor constitutes a day’s work. Employment beyond eight
13          (8) hours in any workday or more than six (6) days in any workweek is permissible
            provided the employee is compensated for such overtime at not less than: . . . One and
14          one-half (1 ½) times the employee’s regular rate of pay for all hours worked in excess
            of eight (8) hours up to and including 12 hours in any workday, and for the first eight
15          (8) hours worked on the seventh (7th) consecutive day of work in a workweek; and …
            [d]ouble the employee’s regular rate of pay for all hours worked in excess of 12 hours
16          in any workday and for all hours worked in excess of eight (8) hours on the seventh
            (7th) consecutive day of work in a workweek.
17
            104.    Labor Code § 1194(a) provides as follows:
18
            Notwithstanding any agreement to work for a lesser wage, any employee receiving less
19          than the legal minimum wage or the legal overtime compensation applicable to the
            employee is entitled to recover in a civil action the unpaid balance of the full amount
20          of this minimum wage or overtime compensation, including interest thereon,
            reasonable attorneys’ fees, and costs of suit.
21
            105.    Labor Code § 200 defines wages as “all amounts for labor performed by employees of
22
     every description, whether the amount is fixed or ascertained by the standard of time, task, piece,
23
     commission basis or other method of calculation.” All such wages are subject to California’s overtime
24
     requirements, including those set forth above.
25
            106.    Defendant routinely denies Plaintiff and putative Class members compensation for all
26
     hours worked, including overtime. Plaintiff and putative Class members are regularly compensated
27
     for less than the total amount of hours they actually work. Plaintiff and putative Class members receive
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 1 bi-weekly payments for the hours that they work, however, the amount of pay issued to Plaintiff and

 2 putative Class members is often insufficient and grossly less than what is owed, i.e., Plaintiff’s and

 3 putative Class members’ pay does not reflect the total amount of hours they actually work. Thus,

 4 Defendant underpays Plaintiff and putative Class members by routinely refusing to compensate all

 5 time worked, including at overtime.

 6           107.   As a result, Plaintiff and putative Class members have worked overtime hours for
 7 Defendant without being paid overtime premiums in violation of the Labor Code, applicable IWC

 8 Wage Orders, and other applicable law.

 9           108.   Defendant knowingly and willfully refuses to perform its obligations to provide
10 Plaintiff and the Class members with premium wages for all overtime work. As a proximate result of

11 the aforementioned violations, Defendant has damaged Plaintiff and the Class members in amounts to

12 be determined according to proof at time of trial.

13           109.   Defendant is liable to Plaintiff and the putative Class alleged herein for the unpaid
14 overtime and civil penalties, with interest thereon. Furthermore, Plaintiff is entitled to an award of

15 attorneys’ fees and costs as set forth below.

16           110.   Wherefore, Plaintiff and the Class request relief as hereinafter provided.
17                                     FIFTH CAUSE OF ACTION
             Failure to Authorize and Permit and/or Make Available Meal and/or Rest Periods
18
                            Pursuant to California Labor Code §§ 226.7 & 512
19                                       (On Behalf of the Class)

20           111.   Plaintiff realleges and incorporates the foregoing paragraphs as though fully set forth

21 herein.

22           112.   Defendant routinely fails to authorize, permit and/or make available compliant meal

23 periods to Plaintiff and putative Class members. Plaintiff’s and putative Class members’ schedules

24 regularly prevent them from taking compliant meal periods. Plaintiff and putative Class members are

25 routinely denied meal breaks for three reasons: (i) Plaintiff and putative class members are often called

26 away from their meal breaks to provide care to a resident; (ii) Defendant does not authorize, permit,
27 and/or make available timely meal breaks to Plaintiff and putative Class members; and (iii) Plaintiff

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 1 and putative Class members are often too busy with work during the day to have time to take bona

 2 fide meal breaks.

 3          113.   When Plaintiff and putative Class members attempt a meal break, such is often
 4 interrupted and/or untimely, i.e., Defendant does not provide Plaintiff and putative Class members

 5 with duty-free, uninterrupted, and timely thirty-minute meal periods during which Plaintiff and

 6 putative Class members should be completely relieved of any duty, by the end of the fifth hour of

 7 work.

 8          114.   Plaintiff and putative Class members are not provided with one (1) hour of premium
 9 pay for each day they do not receive a complaint meal break.

10          115.   Similarly, Defendant regularly fails to make rest periods available to Plaintiff and
11 putative Class members. Plaintiff and putative Class members’ schedules regularly prevent them from

12 taking bona fide rest breaks throughout the day. When available, if ever, such are often untimely and/or

13 interrupted, i.e., Defendant does not provide Plaintiff and putative Class members with duty-free,

14 uninterrupted, and timely ten-minute rest periods during which Plaintiff and putative Class members

15 should be completely relieved of any duty, by the end of the fourth hour of work, and again by the end

16 of the eighth hour of work.

17          116.   Plaintiff and putative Class members are not provided with one (1) hour of premium
18 pay for each day they do not receive a complaint rest break.

19          117.   Labor Code § 226.7 and the applicable Wage Order require Defendant to authorize and
20 permit meal and rest periods to its employees. Labor Code §§ 226.7 and 512 and the Wage Orders

21 prohibit employers from employing an employee for more than five (5) hours without a meal period

22 of not less than thirty minutes, and from employing an employee more than ten (10) hours per day

23 without providing the employee with a second meal period of not less than thirty minutes.

24          118.   Labor Code § 226.7 and the applicable Wage Order also require employers to authorize
25 and permit employees to take ten (10) minutes of net rest time per (4) four hours or major fraction

26 thereof of work, and to pay employees their full wages during those rest periods. Unless the employee
27 is relieved of all duty during the thirty-minute meal period, the employee is considered “on duty” and

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 1 the meal period is counted as time worked under the applicable Wage Order.

 2           119.   Under Labor Code § 226.7(b) and the applicable Wage Order, an employer who fails
 3 to authorize, permit, and/or make available a required meal period must, as compensation, pay the

 4 employee one (1) hour of pay at the employee’s regular rate of compensation for each workday that

 5 the meal period was not authorized and permitted. Similarly, an employer must pay an employee

 6 denied a required rest period one (1) hour of pay at the employee’s regular rate of compensation for

 7 each workday that the rest period was not authorized and permitted and/or not made available.

 8           120.   Despite these requirements, Defendant has often knowingly and willfully refused to
 9 perform its obligations to authorize and permit and/or make available to Plaintiff and putative Class

10 members the ability to take the meal and/or rest periods to which they are entitled.

11           121.   Defendant has also failed to pay Plaintiff and putative Class one hour of pay for each
12 day an off-duty meal and/or rest period was denied. Defendant’s conduct described herein violates

13 Labor Code § 226.7 and 512. Therefore, pursuant to Labor Code § 226.7(b), Plaintiff and putative

14 Class members are entitled to compensation for the failure to authorize and permit and/or make

15 available meal and rest periods, plus interest, attorneys’ fees, expenses and costs of suit.

16           122.   As a proximate result of the aforementioned violations, Plaintiff and the putative Class
17 have been damaged in an amount according to proof at time of trial.

18           123.   Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
19                                     SIXTH CAUSE OF ACTION
                          Failure to Provide Accurate Itemized Wage Statements
20
                                 Pursuant to California Labor Code § 226
21                                        (On Behalf of the Class)

22           124.   Plaintiff realleges and incorporates the foregoing paragraphs as though fully set forth

23 herein.

24           125.   Defendant does not provide Plaintiff and putative Class members with accurate

25 itemized wage statements as required by California law.

26           126.   Labor Code § 226(a) provides:
           An employer, semimonthly or at the time of each payment of wages, shall furnish to
27         his or her employees, either as a detachable part of the check, draft, or voucher paying
           the employee's wages, or separately if wages are paid by personal check or cash, an
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            accurate itemized statement in writing showing: (1) gross wages earned, (2) total hours
 1          worked by the employee, except as provided in subdivision (j), (3) the number of piece-
            rate units earned and any applicable piece rate if the employee is paid on a piece-rate
 2          basis, (4) all deductions, provided that all deductions made on written orders of the
            employee may be aggregated and shown as one item, (5) net wages earned, (6) the
 3          inclusive dates of the period for which the employee is paid, (7) the name of the
            employee and only the last four digits of his or her social security number, (8) the name
 4          and address of the legal entity that is the employer and, if the employer is a farm labor
            contractor, as defined in subdivision (b) of Section 1682, the name and address of the
 5          legal entity that secured the services of the employer, and (9) all applicable hourly rates
            in effect during the pay period and the corresponding number of hours worked at each
 6          hourly rate by the employee …. The deductions made from payments of wages shall
            be recorded in ink or other indelible form, properly dated, showing the month, day, and
 7          year, and a copy of the statement or a record of the deductions shall be kept on file by
            the employer for at least three years at the place of employment or at a central location
 8          within the State of California.
 9
            127.    IWC Wage Order 5-2001(7) establishes similar wage statement requirements.
10
            128.    Labor Code § 226(e) provides:
11          An employee suffering injury as a result of a knowing and intentional failure by an
            employer to comply with subdivision (a) is entitled to recover the greater of all actual
12          damages or fifty dollars ($50) for the initial pay period in which a violation occurs and
            one hundred dollars ($100) per employee for each violation in a subsequent pay period,
13          not exceeding an aggregate penalty of four thousand dollars ($4,000), and is entitled to
            an award of costs and reasonable attorney’s fees.
14

15          129.    Plaintiff seeks to recover actual damages, costs, and attorneys’ fees under this section.

16          130.    Defendant does not provide timely, accurate itemized wage statements to Plaintiff and

17 putative Class members in accordance with Labor Code § 226(a) and the IWC Wage Orders. The wage

18 statements Defendant provides its employees, including Plaintiff and putative Class members, do not

19 accurately reflect all hours worked, including minimum wages and overtime. In addition, Defendant’s

20 wage statements do not include premium pay for missed meal and rest period.

21          131.    Defendant is liable to Plaintiff and the putative Class alleged herein for the amounts

22 described above in addition to the civil penalties set forth below, with interest thereon. Furthermore,

23 Plaintiff is entitled to an award of attorneys’ fees and costs as set forth below, pursuant to Labor Code

24 § 226(e).

25          132.    Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.

26                                 SEVENTH CAUSE OF ACTION
                   Waiting Time Penalties Pursuant to California Labor Code §§ 201-203
27                                       (On Behalf of the Class)

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 1           133.   Plaintiff re-alleges and incorporates the foregoing paragraphs as though fully set forth
 2 herein.

 3
             134.   Defendant does not provide putative Class members with their wages when due under
 4
     California law after their employment with Defendant ends.
 5
             135.   Labor Code § 201 provides:
 6
                    If an employer discharges an employee, the wages earned and unpaid at
 7                  the time of discharge are due and payable immediately.
 8           136.   Labor Code § 202 provides:
 9                  If an employee not having a written contract for a definite period quits his or her
                    employment, his or her wages shall become due and payable not later than 72 hours
10                  thereafter, unless the employee has given 72 hours previous notice of his or her
                    intention to quit, in which case the employee is entitled to his or her wages at the
11                  time of quitting.
12           137.   Labor Code § 203 provides, in relevant part:
13                  If an employer willfully fails to pay, without abatement or reduction, in
                    accordance with Sections 201, 201.5, 202, and 205.5, any wages of an
14                  employee who is discharged or who quits, the wages of the employee
                    shall continue as a penalty from the due date thereof at the same rate
15                  until paid or until an action therefor is commenced; but the wages shall
                    not continue for more than 30 days.
16
             138.   Some of the putative Class members, including Plaintiff, left their employment with
17
     Defendant during the statutory period, at which time Defendant owed them unpaid wages. These
18
     earned, but unpaid, wages derive from time spent working for the benefit of Defendant, which went
19
     unrecorded and/or uncompensated. In addition, Plaintiff and putative Class members who left their
20
     employment during the statutory period were owed premium pay for missed, interrupted and/or
21
     untimely meal and rest periods.
22
             139.   Defendant willfully refused and continues to refuse to pay putative Class members all
23
     the wages that are due and owing to them, in the form of uncompensated time worked, upon the end
24
     of their employment as a result of Defendant’s willful failure to provide Plaintiff and the putative
25
     Class members with payment for all hours worked, including minimum wage and overtime. In
26
     addition, Defendant willfully refused and continues to refuse to pay Plaintiff and putative Class
27
     members premium pay for missed, interrupted and/or untimely meal and rest periods. As a result of
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 1    Defendant’s actions, Plaintiff and putative Class members have suffered and continue to suffer
 2    substantial losses, including lost earnings, and interest.
 3           140.   Defendant’s willful failure to pay Plaintiff and putative Class members the wages due
 4    and owing them constitutes a violation of Labor Code §§ 201-202. As a result, Defendant is liable to
 5    Plaintiff and proposed Class members for all penalties owing pursuant to Labor Code §§ 201-203.
 6           141.   In addition, Labor Code § 203 provides that an employee’s wages will continue as a
 7    penalty up to thirty(30) days from the time the wages were due. Therefore, the Plaintiff and putative
 8    Class members are entitled to penalties pursuant to Labor Code § 203, plus interest.
 9           142.   Wherefore, Plaintiff and the Class request relief as hereinafter provided.
10                                        EIGHTH CAUSE OF ACTION
                      Violation of California Business and Professions Code §§ 17200, et seq.
11
                                              (On Behalf of the Class)
12           143.   Plaintiff realleges and incorporates the foregoing paragraphs as though fully set forth
13 herein.

14           144.   California Business and Professions Code § 17200, et seq., prohibits unfair competition
15 in the form of any unlawful, unfair, or fraudulent business acts or practices.

16           145.   Business and Professions Code § 17204 allows a person injured by the unfair business
17 acts or practices to prosecute a civil action for violation of the UCL.

18           146.   Labor Code § 90.5(a) states it is the public policy of California to vigorously enforce
19 minimum labor standards in order to ensure employees are not required to work under substandard

20 and unlawful conditions, and to protect employers who comply with the law from those who attempt

21 to gain competitive advantage at the expense of their workers by failing to comply with minimum

22 labor standards.

23           147.   Beginning at an exact date unknown to Plaintiff, but at least since the date four years
24 prior to the filing of this suit, Defendant has committed acts of unfair competition as defined by the

25 UCL, by engaging in the unlawful, unfair, and fraudulent business acts and practices described in this

26 Complaint, including, but not limited to:
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 1          a.     Violations of Labor Code § 1194 and IWC Wage Order 5-2001 pertaining to payment of
 2                 wages, including minimum wage, for all hours worked;
 3          b.     violations of Labor Code § 510 and Wage Order 5-2001 pertaining to overtime;
 4          c.     violations of Labor Code §§ 226.7, 512 and Wage Order 5-2001 pertaining to meal periods
 5                 and rest breaks;
 6          d.     violations of Labor Code § 226 regarding accurate, timely itemized wage statements; and
 7          e.     violations of Labor Code §§ 201-302 pertaining to payment of all due wages upon
 8                 separation from employment.
 9          148.     The violations of these laws and regulations, as well as of the fundamental California
10 public policies protecting wages, serve as unlawful predicate acts and practices for purposes of

11 Business and Professions Code §§ 17200 et seq.

12          149.     The acts and practices described above constitute unfair, unlawful and fraudulent
13 business practices, and unfair competition, within the meaning of Business and Professions Code §§

14 17200 et seq. Among other things, the acts and practices have taken from Plaintiff and the Class wages

15 rightfully earned by them, while enabling Defendant to gain an unfair competitive advantage over law-

16 abiding employers and competitors.

17          150.     Business and Professions Code § 17203 provides that a court may make such orders or
18 judgments as may be necessary to prevent the use or employment by any person of any practice which

19 constitutes unfair competition. Injunctive relief is necessary and appropriate to prevent Defendant

20 from repeating the unlawful, unfair, and fraudulent business acts and practices alleged above.

21          151.     As a direct and proximate result of the aforementioned acts and practices, Plaintiff and
22 the Class members have suffered a loss of money and property, in the form of unpaid wages which

23 are due and payable to them.

24          152.     Business and Professions Code § 17203 provides that the Court may restore to any
25 person in interest any money or property which may have been acquired by means of such unfair

26 competition. Plaintiff and the Class are entitled to restitution pursuant to Business and Professions
27 Code § 17203 for all wages and payments unlawfully withheld from employees during the four-year

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 1 period prior to the filing of this Complaint. Plaintiff’s success in this action will enforce important

 2 rights affecting the public interest and, in that regard, Plaintiff sues on behalf of herself as well as

 3 others similarly situated. Plaintiff and putative Class members seek and are entitled to gratuity

 4 payments retained by Defendant, unpaid wages, declaratory and injunctive relief, and all other

 5 equitable remedies owing to them.

 6          153.    Plaintiff herein takes upon herself enforcement of these laws and lawful claims. There
 7 is a financial burden involved in pursuing this action, the action is seeking to vindicate a public right,

 8 and it would be against the interests of justice to penalize Plaintiff by forcing her to pay attorneys’

 9 fees from the recovery in this action. Attorneys’ fees are appropriate pursuant to Code of Civil

10 Procedure §1021.5 and otherwise.

11          154.    Wherefore, Plaintiff and the putative Class request relief as hereinafter provided.
12                                         PRAYER FOR RELIEF
13          WHEREFORE, Plaintiff, on behalf of the Class and Collective members, requests the
14 following relief:

15          1.      For an order certifying that the First Cause of Action in this Complaint may be
16                  maintained as a collective action pursuant to 29 U.S.C. § 216(b) and that prompt notice
17                  of this action be issued to potential members of the Collective, apprising them of the
18                  pendency of this action, and permitting them to assert their FLSA claims;
19          2.      For an order equitably tolling the statute of limitations for the potential members of the
20                  Collective;
21          3.      Damages and restitution according to proof at trial for all unpaid gratuities, wages and
22                  other injuries, as provided by the FLSA, California Labor Code, and California
23                  Business and Professions Code;
24          4.      For a declaratory judgment that Defendant violated the FLSA, California Labor Code,
25                  California law, and public policy as alleged herein;
26          5.      For a declaratory judgment that Defendant violated California Business and
27                  Professions Code §§ 17200 et seq. as a result of the aforementioned violations of the
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 1                California Labor Code;
 2        6.      For preliminary, permanent, and mandatory injunctive relief prohibiting Defendant, its
 3                officers, agents, and all those acting in concert with them from committing in the future
 4                those violations of law herein alleged;
 5        7.      For an equitable accounting to identify, locate, and restore to all current and former
 6                employees the wages they are due, with interest thereon;
 7        8.      For an equitable accounting to identify, locate, and restore to all current and former
 8                employees the wages they are due, with interest thereon;
 9        9.      For an order awarding Plaintiff and putative Class and Collective members
10                compensatory damages, including gratuities owed, lost wages, earnings, liquidated
11                damages, and other employee benefits, restitution, recovery of all money/property,
12                actual damages, and all other sums of money owed to Plaintiff and putative Class and
13                Collective members, together with interest on these amounts according to proof;
14        10.     For an order awarding Plaintiff and putative Class and Collective members civil
15                penalties pursuant to the FLSA, California Labor Code, and the laws of the State of
16                California, with interest thereon;
17        11.     For an order awarding reasonable attorneys’ fees as provided by the FLSA, California
18                Labor Code, California Code of Civil Procedure § 1021.5, the laws of the State of
19                California, and/or other applicable law;
20        12.     For all costs of suit;
21        13.     For interest on any penalties awarded, as provided by applicable law;
22        14.     For injunctive relief requiring Defendant to correct its unlawful practices; and
23        15.     For such other and further relief as this Court deems just and proper.
24

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 2   Date: March 18, 2022
 3                                              ___________________________
                                                Carolyn H. Cottrell
 4                                              Samantha A. Smith
                                                SCHNEIDER WALLACE
 5                                              COTTRELL KONECKY LLP
 6
                                                Attorneys for Plaintiff,
 7                                              on behalf of the putative Class and Collective

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              CLASS AND COLLECTIVE ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
                               Melgoza v. Aegis Senior Communities LLC
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 1                                      DEMAND FOR JURY TRIAL
 2           Plaintiff hereby demands a jury trial on all claims and issues for which Plaintiff is entitled to
 3 a jury.

 4                                                          Respectfully Submitted,
 5   Date: March 18, 2022
 6
                                                           ___________________________
 7                                                         Carolyn H. Cottrell
                                                           Samantha A. Smith
 8                                                         SCHNEIDER WALLACE
                                                           COTTRELL KONECKY LLP
 9

10                                                         Attorneys for Plaintiff,
                                                           on behalf of the putative Class and Collective
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